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                      Exhibit A
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                      Race and Redistricting in Texas
                                      Moon Duchin
                        Professor of Mathematics, Tufts University
                         Senior Fellow, Tisch College of Civic Life
                                             May 23, 2022


    This report contains minor corrections to my initial report filed May 20, 2022. No
  qualitative or substantive statements are affected by the corrections.


  1     Background, qualifications, materials consulted
  I am a Professor of Mathematics and a Senior Fellow in the Jonathan M. Tisch College
  of Civic Life at Tufts University. At Tisch College, I am the principal investigator of an
  interdisciplinary research lab focused on geometric and computational aspects of redis-
  tricting. My areas of research and teaching include the structure of census data and dis-
  closure avoidance systems, the history of the Census, the design and implementation of
  randomized algorithms for generating districting plans, and the analysis of redistricting
  more broadly. I was recently awarded a large grant from the National Science Foundation
  to study Network Science of Census Data.
      I am compensated at $400/hour for my work in this case. I have previously written
  reports and provided testimony by deposition, a hearing, or at trial in North Carolina,
  South Carolina, Pennsylvania, Wisconsin, and Alabama.1 A full copy of my CV is attached
  to this report.


  1.1     Materials consulted
  Materials consulted in the preparation of this report include the following.
      • A major source is Census data, primarily the Decennial Census releases (i.e., the
        PL 94-171). Other data products from the Census Bureau, including the American
        Community Survey and the TIGER/Line shapefiles, were also used.

      • For priorities and criteria, I consulted the Texas Legislature’s Guide to 2021 Redis-
        tricting:
        redistricting.capitol.texas.gov/docs/guide_to_2021_redistricting.pdf
      • The Texas Legislative Council makes an abundance of resources available on its
        website (tlc.texas.gov), including shapefiles and electoral data.


     1 NC League of Conservation Voters, et al. v. Hall, et al. No. 21-cvs-500085 (Wake Cnty. Sup. Ct. 2021);

  Carter v. Chapman, No. 7 MM 2022, 2022 WL 702894 (Pa. Mar. 9, 2022); SC NAACP et al. v. Alexander, et
  al., Case No. 3-21-cv-03302-MBS-TJH-RMG (D.S.C.) (three-judge ct.); Johnson v. Wis. Elections Comm’n, No.
  2021AP1450-OA, 2022 WL 621082 (Wis. Mar. 3, 2022); Milligan, et al. v. Merrill, et al., Case No. 2:21-cv-
  01530-AMM and Thomas, et al. v. Merrill, et al., Case No. 2:21-cv-01531-AMM (N.D. Ala. 2021).


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  2    Introduction
  The 87th Texas Legislature convened its 3rd Called Session on September 20, 2021. The
  Legislature ultimately passed four bills in mid-October containing new districting plans:
      • H.B. 1, State House Districts (PlanH2316);

      • S.B. 4, State Senate Districts (PlanS2168);
      • S.B. 6, Texas Congressional Districts (PlanC2193); and
      • S.B. 7, State Board of Education Districts (PlanE2106).
  They were signed into law by Governor Greg Abbott on Monday, October 25.
     Texas (population 29,545,105) is to be divided into 38 Congressional, 31 state Senate,
  and 150 state House districts, respectively; this means that ideal populations for each
  type of district, rounded to the nearest integer, are:
           777,503 (Congress);       953,068 (Senate);     and     196,967 (House).
     I have been asked to study the enacted Congressional, Senate, and House maps,
  and to put them in context of demographics and electoral conditions in their regions
  of the state, so as to see whether and to what extent the evidence supports a VRA
  Section 2 challenge and/or a constitutional challenge that examines an overlapping but
  not identical set of districts. I have localized my VRA inquiry to five areas of the state
  made up by counties or county pairs: Dallas/Tarrant; Harris/Fort Bend; Denton/Wise;
  Lubbock; and Brazoria. Below, I will present evidence that bears on the cohesion of
  Black, Hispanic/Latino, and Asian American/Pacific Islander (AAPI) groups as an electoral
  coalition. I will refer to this combined population as the POC ("people of color") coalition,
  or simply the coalition, for short.
     I will discuss the following seven district clusters, depicted in Figure 1.

  C1. CD-Tarrant/Dallas – seven districts from the state’s Congressional plan (CD 6, 12,
      24, 25, 30, 32, and 33)

  C2. CD-Harris/FtBend – eight districts from the state’s Congressional plan (CD 2, 7, 9,
      14, 18, 22, 29, and 38)
  S1. SD-Tarrant/Dallas – 7 districts from the state’s Senate plan (SD 9, 10, 12, 16, 22,
      23, and 30)

  S2. SD-FtBend – 5 districts from the state’s Senate plan (SD 6, 13, 15, 17, and 18)
  H1. HD-Tarrant – 11 districts from the state’s House plan (HD 90, 91, 92, 93, 94, 95, 96,
      97, 98, 99, and 101)
  H2. HD-Dallas – 14 districts from the state’s House plan (HD 100, 102, 103, 104, 105,
      107, 108, 109, 110, 111, 112, 113, 114, 115)

  H3. HD-Denton/Wise – 5 districts from the state’s House plan (HD 57, 63, 64, 65, and
      106)
  H4. HD-Lubbock – 2 districts from the state’s House plan (HD 83 and 84)

  H5. HD-Brazoria – 2 districts from the state’s House plan (HD 25 and 29).




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  Figure 1: The counties that anchor the district clusters discussed below are highlighte-
  din this figure : Tarrant and Dallas (blue), Wise and Denton (red), Harris and Fort Bend
  (green), Brazoria (yellow), and Lubbock (purple). The districts that start in those high-
  lighted counties extend over much of the land area of Texas, as shown here.


     My assignment includes the following three major components.
     • Gingles 1: In each cluster, demonstrate whether the POC coalition is sufficiently
       numerous and geographically compact to constitute a majority of citizen voting
       age population (CVAP) in at least one district more than is found in the state’s
       corresponding plan.
     • Gingles 2/3: In the counties covered by the complaint, assess how the voting
       patterns break down by voter race and ethnicity. Consider whether a racially po-
       larized voting analysis lends support to a claim that Black, Hispanic/Latino, and
       Asian American/Pacific Islander (AAPI) groups vote cohesively as a coalition bloc,
       and the complementary majority population votes sufficiently as a bloc to prevent
       the coalition from electing candidates of choice.
     • Racial gerrymandering: Provide a close examination of the decisions that went
       into line-drawing in the state’s plans. Examine adherence to traditional districting
       principles and to recognized legitimate aims of redistricting. Investigate the pos-


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       sibility that race-neutral criteria were subordinated to excessively race-conscious
       boundaries; investigate the evidence of intent to dilute the vote of the minority
       coalition.
    The racial gerrymandering inquiry will consider numerous districts from the clusters
  above, as well as seven additional House districts (HD 26, 54, 66, 67, 121, 126, and
  132).


  3    Rules and priorities for Texas redistricting
  The Guide to 2021 Redistricting published by the Texas Legislative Council discusses
  the requirements, the process, the data, and the venues for public participation in the
  Legislature-run redistricting process.
     There are few state-specific rules for redistricting outlined in the Guide. First, the
  document reviews the federal requirements for population balance and for protections
  on the basis of race, ethnicity, and language. For population balance, the Guide cites
  the national standard that legislative districts should normally be within 5% of ideal
  district population, noting a conventional "stricter" standard for Congressional districts.
  In voting rights terms, the Guide asserts that "districts must be drawn in a manner that
  neither has the purpose nor will have the effect of denying or abridging the right to vote
  on the basis of race, color, or language group."
     There are only two other specifications of traditional districting criteria cited in the
  Guide. First, there is a requirement that state Senate districts be composed of contiguous
  territory, i.e., that each district should be a single connected piece. (Notably, this is
  not mentioned for Congressional or state House districts.) Next, a "county line rule" is
  articulated—only for state House districts—which is quite strict if applied literally.
     Quoting directly, the Guide says:

       (1) a county with sufficient population for exactly one district must be formed
       into a single district;
       (2) a county with a population smaller than the population needed for a whole
       district must be kept whole and combined with one or more contiguous coun-
       ties to form a district;
       (3) a county that has sufficient population for two or more whole districts must
       be divided into that number of districts, with no district extending into another
       county; and
       (4) each county with a population sufficient for one or more whole districts plus
       a fraction of another district must be divided into that many whole districts,
       with the excess population added to one or more contiguous counties to form
       an additional district.

     The only exceptions envisioned to this rule are those that are necessitated by the
  ±5% limit on population deviation in the plan as a whole.
     Beyond these criteria, the rest of the Guide is devoted to issues of procedure and
  timing. In particular, there is no mention of several widely invoked districting criteria:
  district compactness, incumbent protection, or the preservation of district cores. Respect
  for communities of interest is only cited as a topic for public hearings that "the legislature
  may consider relevant." Issues of partisan bias and the use of partisan data are not
  discussed at all.




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  4      Demographics
  Texas, long one of the most populous and most diverse states in the nation, continues
  to rapidly grow and diversify. The 2020 Decennial Census saw its population rise to
  29,145,505 from a total of 25,145,561 ten years prior; this nearly sixteen percent growth
  made it the only state whose apportionment increased by two seats in the House of
  Representatives. In the new data release, non-Hispanic White residents fell to 43.2% of
  the voting age population; only New Mexico, California, and Hawaii have a lower share.
      Texas has four cities with over one million residents—Houston, San Antonio, Dallas,
  and Austin—putting all four in the top ten nationally (4th, 7th, 9th, and 10th, respec-
  tively). All four are growing at a rapid clip, having added 6-10 percent of their 2010
  population since the last census. Another city, Fort Worth, is nearing the million mark,
  with an even larger jump of 24% in ten years.
      Texans are remarkably diverse in terms of race, ethnicity, language, and origin.
  Black, Latino, and Asian American/Pacific Islander (henceforth abbreviated AAPI or sim-
  ply Asian) groups are all large and prominent in state politics. Many Texan cities, and
  urban counties, showcase the same diversity as the state as a whole. Of the counties
  examined below, Dallas, Fort Bend, and Harris are all over 20% Black by population; Dal-
  las, Harris, Lubbock, and Brazoria are all over 30% Latino by population. The Houston
  and Dallas metro areas are two of the most heavily Asian metros by population share of
  any in the United States today—both in the top twenty nationally—and Fort Bend County
  is over 20% Asian by population.
      Below, we will see that the Black-Latino-Asian coalition of Texan residents votes ex-
  tremely cohesively (§6); together, this coalition makes up over 58% of the population
  and over 48% of the citizen voting age population of the state.
       Statewide demographics break down as follows.2

                        Total Population                     VAP 2020                     CVAP 5-year
   Black             3,964,700      (13.6%)          2,837,841       (12.98%)        2,512,354       (13.52%)
   Hispanic        11,204,738       (38.44%)         7,794,168       (35.64%)        5,671,688       (30.53%)
   Asian             1,744,974      (5.99%)          1,308,044       (5.98%)            783,386      (4.22%)
   Coalition       16,914,412       (58.03%)       11,940,053        (54.6%)         8,967,428       (48.27%)
   White           11,584,597       (39.75%)         9,437,993       (43.16%)        9,428,872       (50.75%)
   Total           29,145,505                      21,866,700                       18,578,760

                                      Table 1: Demographics of Texas

      2 Wherever possible, I use Black to denote Black racial categories alone or in combination; Hispanic/Latino

  for all respondents indicating Hispanic ethnicity, except those already counted as Black; Asian (or more fully
  AAPI) for all residents with Asian American/Pacific Islander responses, except those already counted as Black
  or Hispanic; and White for non-Hispanic White alone. The remainder of Texans, denoted "Other" below, are
  over 98% identified as White alone, but also include those who responded as Native American or Some Other
  Race. The American Community Survey does not offer the same range of racial identification options as the
  Decennial Census, so the race categories available there are considerably simplified. See Appendix A for more
  details. For this reason and because the data products are collected with a different methodology and over a
  different time period, the White citizen voting age population (CVAP) in a given locality according to the ACS
  may exceed the White voting age population (VAP) reported in the Decennial Census. I also note that the CVAP
  totals presented below are summed over the block groups in each locality; this may give a slightly different
  result from the county total reported by the ACS, for reasons internal to the Bureau’s methodology. I have
  chosen to report this block-group sum because these are the data that will be used in assessing the districts
  below.


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  4.1   Tarrant and Dallas Counties
  Dallas County is home to the City of Dallas, whose population sits at over 1.3 million.
  Several other cities have more than 150,000 residents: Garland, Irving, Mesquite, and
  Grand Prairie (which straddles the Dallas-Tarrant county line). There are two major cities
  anchoring Tarrant County: Fort Worth (population 927,720) and Arlington (population
  394,266).

                    Total Population              VAP 2020              CVAP 5-year
    Black          404,404   (19.16%)      281,397     (17.88%)      238,870     (17.64%)
    Hispanic       603,106   (28.57%)      405,913     (25.79%)      273,325     (20.18%)
    Asian          143,992   (6.82%)       107,712     (6.84%)         70,489    (5.2%)
    Coalition    1,151,502   (54.56%)      795,022     (50.51%)      582,684     (43.02%)
    White          904,884   (42.87%)      738,298     (46.9%)       756,271     (55.84%)
    Total        2,110,640               1,574,046                  1,354,445

                          Table 2: Demographics of Tarrant County


                    Total Population              VAP 2020              CVAP 5-year
    Black          611,735   (23.41%)      452,877     (22.96%)      426,840     (27.81%)
    Hispanic     1,037,954   (39.71%)      712,636     (36.13%)      383,502     (24.99%)
    Asian          195,100   (7.46%)       149,921     (7.6%)          84,195    (5.49%)
    Coalition    1,844,789   (70.59%)    1,315,434     (66.69%)      894,537     (58.28%)
    White          724,987   (27.74%)      622,696     (31.57%)      625,099     (40.73%)
    Total        2,613,539               1,972,578                  1,534,845

                          Table 3: Demographics of Dallas County




               Tarrant County                     Dallas County
                    CVAP                               CVAP




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  4.2    Harris and Fort Bend Counties
  Harris is the third largest county in the nation after Los Angeles, CA and Cook, IL. Fort
  Bend County has a very large Asian population—over 23% of the total population, and
  over 18% by citizen voting age population—making it the highest AAPI share in any
  Texas county, and one of the highest in the country. Fort Bend is home to Sugar Land,
  its largest city and one of the most explosively growing cities in the nation, which saw a
  jump of +40.87% since the last census. Today, more than four in ten residents of Sugar
  Land is Asian-identified.

                      Total Population             VAP 2020             CVAP 5-year
    Black            981,484    (20.75%)     712,166    (20.23%)      626,025   (22.68%)
    Hispanic        1,985,784   (41.97%)   1,379,234    (39.19%)      855,340   (30.99%)
    Asian            374,196    (7.91%)      293,222    (8.33%)       192,104   (6.96%)
    Coalition       3,341,464   (70.63%)   2,384,622    (67.75%)   1,673,469    (60.63%)
    White           1,309,593   (27.68%)   1,075,663    (30.56%)   1,064,539    (38.57%)
    Total           4,731,145              3,519,584               2,760,070

                            Table 4: Demographics of Harris County


                        Total Population           VAP 2020            CVAP 5-year
        Black         183,786   (22.34%)    129,868    (21.75%)    112,102    (23.08%)
        Hispanic      191,699   (23.3%)     132,154    (22.14%)      97,358   (20.04%)
        Asian         190,051   (23.1%)     138,433    (23.19%)      88,613   (18.24%)
        Coalition     565,536   (68.73%)    400,455    (67.08%)    298,073    (61.36%)
        White         243,726   (29.62%)    187,278    (31.37%)    184,586    (38.0%)
        Total         822,779               596,993                485,810

                           Table 5: Demographics of Fort Bend County




                Harris County                 Fort Bend County
                    CVAP                            CVAP



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  4.3    Denton and Wise Counties
  Wise County is small (68,632) and relatively Whiter than the other counties on this
  list, with White CVAP at nearly 85%. Neighboring Denton County has three cities over
  100,000 (Denton, Carrollton, and Lewisville) and contains part of Frisco. Carrollton and
  Lewisville sit together in the southeastern corner of the county and formed the heart
  of a House district (HD 65) in the benchmark plan. In each of those cities, coalition
  population makes up more than six in ten residents.

                       Total Population            VAP 2020             CVAP 5-year
        Black         113,638   (12.54%)     79,448    (11.71%)       64,761    (11.09%)
        Hispanic      176,820   (19.51%)    119,938    (17.68%)       82,080    (14.05%)
        Asian         102,549   (11.31%)     73,199    (10.79%)       41,012    (7.02%)
        Coalition     393,007   (43.36%)    272,585    (40.18%)      187,853    (32.16%)
        White         485,646   (53.58%)    385,461    (56.82%)      389,440    (66.68%)
        Total         906,422               678,416                  584,050

                           Table 6: Demographics of Denton County


                        Total Population           VAP 2020            CVAP 5-year
          Black          1261   (1.84%)        768     (1.48%)         727     (1.53%)
          Hispanic     13,506   (19.68%)      8714     (16.81%)       5350     (11.24%)
          Asian           569   (0.83%)        387     (0.75%)         324     (0.68%)
          Coalition    15,336   (22.35%)      9869     (19.04%)       6401     (13.45%)
          White        50,495   (73.57%)    39,787     (76.76%)     40,405     (84.91%)
          Total        68,632               51,836                  47,585

                            Table 7: Demographics of Wise County




                  Denton County                     Wise County
                      CVAP                             CVAP



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   4.4    Lubbock County
   Lubbock County, a mid-sized county in the lower Texas Panhandle, is nearly exactly half
   White by population, and over one-third Latino. Shifting to citizen voting age population
   shifts those numbers as seen below.
       The only major city is Lubbock, with population 257,141, after which the cities drop
   off rapidly in size to below 6000. This means that the City of Lubbock has nearly 83% of
   the county’s residents, and is the size of 1.3 House districts.

                      Total Population            VAP 2020             CVAP 5-year
         Black        31,107   (10.01%)     22,065    (9.29%)       15,526   (6.95%)
         Hispanic    106,222   (34.19%)     73,877    (31.1%)       69,360   (31.06%)
         Asian        10,765   (3.47%)        8807    (3.71%)         3663   (1.64%)
         Coalition   148,094   (47.67%)    104,749    (44.1%)       88,549   (39.66%)
         White       154,994   (49.9%)     126,770    (53.37%)     132,885   (59.51%)

         Total       310,639               237,542                 223,295

                          Table 8: Demographics of Lubbock County




                                Lubbock County
                                     CVAP




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   4.5    Brazoria County
   Brazoria is a medium-sized county on the Gulf Coast. Pearland is its largest city, at a
   population of 125,828, and no other city breaks 30,000. Together, Black, Latino, and
   Asian residents make up nearly half of the citizen voting age population.

                      Total Population          VAP 2020              CVAP 5-year
         Black        61,118   (16.43%)     43,332   (15.71%)      39,145   (15.69%)
         Hispanic    111,908   (30.08%)     76,303   (27.66%)      62,807   (25.17%)
         Asian        28,562   (7.68%)      20,451   (7.41%)       13,911   (5.57%)
         Coalition   201,588   (54.19%)    140,086   (50.77%)     115,863   (46.43%)
         White       161,833   (43.5%)     129,282   (46.86%)     131,590   (52.73%)

         Total       372,031               275,900                249,555

                         Table 9: Demographics of Brazoria County




                                Brazoria County
                                     CVAP




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   5     Demonstrative plans for Gingles 1
   The first Gingles factor in VRA enforcement, serving as a precondition for Section 2
   litigation, asks for a demonstration that the racial or language minority group discussed
   in the claim is "sufficiently large and geographically compact to constitute a majority in
   a single-member district." To satisfy this threshold test, I will provide alternative maps
   containing reasonably compact districts with an additional district meeting the 50% CVAP
   threshold for the proposed coalition of Black, Hispanic, and Asian residents. In many
   cases, there will also be an additional district that crosses the 50% line for an individual
   minority racial group.
       In these county clusters, the enacted plans already possess some districts that are
   majority-coalition by CVAP. In each case, these are retained, while adding an additional
   majority-coalition district within a plan that has comparable or greater compact-
   ness than the state’s enacted plan in that area (serving to ensure that the minority pop-
   ulation is itself compact, as required).3 Importantly, the alternative plan in each cluster
   covers precisely the same terrain as the corresponding districts that are grouped
   from the state’s plan. That means that these alternatives can be independently adopted
   in a self-contained manner, without ripple effects cascading through the rest of the state.
       I emphasize that these proposed plans are intended as Gingles 1 demonstration
   plans; that is, they are designed to prove that the coalition of Black+Hispanic+Asian
   minority groups meets the numerosity and compactness requirement to allow for an ad-
   ditional majority-coalition district (at least 50%+1-person coalition population by CVAP),
   while maintaining or improving on adherence to traditional districting principles. If liabil-
   ity is established, it is my understanding that different configurations of districts may be
   solicited and proposed by the Legislature and the parties at the remedial phase. Once
   the 50% CVAP threshold no longer plays a central role, the focus can turn to assessing
   effective opportunity through a performance analysis and a more fine-grained look at
   recent voting trends. Among other things, remedial plans might focus on whether more
   majority-HCVAP and/or more Latino opportunity districts would be in play without race
   or ethnicity as a primary consideration in the drawing.
       In the meantime, for the purposes of this Gingles 1 exercise, my preliminary perfor-
   mance analysis has confirmed that a 50% coalition CVAP (and likewise 50% BCVAP and
   50% HCVAP) generally has a high likelihood of securing electoral opportunity for minority
   candidates of choice in each county cluster discussed below—though not necessarily in
   all regions of the state.




      3 The criterion of district compactness is the principle that districts should be reasonably shaped, not eccen-

   tric or irregular. Compactness is also sometimes used to describe population distributions rather than districts;
   in that usage, compact populations are those that are clustered rather than dispersed. By far the most com-
   mon compactness metric in redistricting literature and practice is the so-called Polsby-Popper score. This is
   a contour-based score that relies on the outline of the district on a map, formed by comparing the district’s
   area to its perimeter via the formula 4 A/ P2 . Higher Polsby-Popper scores are considered better; this standard
   idealizes a perfectly round district, since circles are the only shapes that realize the maximum score of 1. What
   constitutes a "good" Polsby-Popper score varies considerably from state to state based on physical and human
   geography and traditional redistricting decisions in that state. Texas is frequently home to some of the least
   compact districts in the country, and in this set of enacted plans, the state has put forward some remarkably
   non-compact districts, with scores as low as 4% of ideal (e.g., CD 33).


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   5.1    Congressional districts in Tarrant/Dallas (C1)
   First we consider the 7-district Congressional cluster C1 in Tarrant/Dallas. The alternative
   plan presented here has an additional majority-coalition district (CD 12) with a signficant
   HCVAP percentage, an additional majority-Black district (CD 30), and is substantially
   more compact than the state’s plan. In the alternative plan, CD 33 is fully located in Tar-
   rant County, and CD 12, whose significant HCVAP accounts for Latino population growth
   in the region, is highly compact and mostly falls in Dallas County.
       This is just one of many possibilities for illustrating additional majority-coalition dis-
   tricts; other alternative maps can form CD 12 as a majority-HCVAP district.



                            C2193                                  Alternative plan
           Black    Hisp     AAPI    BHA     Polsby    Black     Hisp     AAPI    BHA    Polsby
     CD
           CVAP     CVAP     CVAP    CVAP    Popper    CVAP     CVAP     CVAP     CVAP   Popper
     6    15.37%   21.28%   2.98%   39.64%    0.154   11.01%   15.51% 1.55% 28.06%         0.18
    12    10.71%   17.62%   3.36%   31.69%    0.208   20.64%   40.02% 5.23% 65.89%        0.371
    24    7.05%    11.83%   6.61%   25.49%    0.114   9.26%    11.85% 7.44% 28.55%        0.154
    25    11.68%   15.15%   2.84%   29.67%    0.259   4.82%    12.43% 2.63% 19.88%        0.333
    30    48.81%   21.31%   3.48%   73.59%    0.197   52.78%   18.04% 4.16% 74.98%        0.189
    32    23.83%   21.10%   7.18%   52.10%    0.077   24.22%    24.0%    6.25% 54.48%     0.113
    33    26.82%   43.19%   4.72%   74.73%    0.038   21.21%   29.35% 4.20% 54.76%        0.083
    Avg                                       0.149                                       0.203

            Table 10: Demographic and compactness comparison between plans.




      Figure 2: The enacted Tarrant/Dallas districts needlessly sprawl over 20 counties.




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         C2193
        Alternative plan




   Figure 3: A close-up view of how Congressional districts meet Tarrant and Dallas Counties
   in the state’s plan (top) and the alternative plan (bottom).




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   5.2     Congressional districts in Harris/Fort Bend (C2)
   Next, we move to the 8-district Congressional cluster C2 in Harris and Fort Bend Coun-
   ties. The alternative plan adds a new majority-coalition district (CD 2), retains a majority-
   Hispanic district (CD 29), and adds a majority-Black district (CD 9), while substantially
   improving compactness overall. As before, this is just one of many possible configu-
   rations that meet the Gingles 1 threshold; other possibilities could draw an additional
   majority-HCVAP district.

                             C2193                                   Alternative plan
            Black    Hisp     AAPI     BHA     Polsby    Black    Hisp      AAPI    BHA     Polsby
     CD
            CVAP     CVAP     CVAP     CVAP    Popper    CVAP     CVAP     CVAP     CVAP    Popper
     2     11.50%   20.05%   3.53%    35.09%    0.228   27.07%   27.54%    2.22%   56.83%    0.248
     7     20.39%   21.15%   18.66%   60.21%    0.092   17.61%   24.26% 18.13% 59.99%        0.306
     9     47.22%   24.76%   8.49%    80.46%    0.164   51.13%   21.91%    8.35%   81.39%    0.206
    14     17.17%   17.78%   2.50%    37.44%    0.161   17.48%   17.79%    3.15%   38.42%    0.157
    18     40.71%   29.05%   5.32%    75.08%    0.068   28.68%   29.71%    6.59%   64.98%    0.192
    22     11.71%   23.74%   10.65%   46.09%    0.164   13.64%   21.35%    9.49%   44.47%    0.121
    29     17.95%   64.65%   3.02%    85.62%    0.092   9.35%    52.88%    4.63%   66.86%    0.122
    38     10.38%   18.62%   8.62%    37.62%    0.125   10.22%   19.55%    7.83%   37.61%    0.121
    Avg                                         0.137                                        0.184

              Table 11: Demographic and compactness comparison between plans.




          Figure 4: In the state’s plan, several districts stretch to distant rural counties.



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             C2193
            Alternative plan




   Figure 5: A close-up view of how Congressional districts meet Harris and Fort Bend Coun-
   ties in the state’s plan (top) and the alternative plan (bottom).


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   5.3    Senate districts in Tarrant/Dallas (S1)
   Next, we move to the 7-district Senate cluster S1 in Tarrant/Dallas. The alternative plan
   has an additional majority-coalition district (SD 10) as well as increasing the BCVAP to a
   majority in SD 23. Compactness is comparable in the alternative plan.

                            S2168                                 Alternative plan
           Black    Hisp     AAPI    BHA     Polsby    Black    Hisp    AAPI     BHA    Polsby
     SD
           CVAP     CVAP     CVAP    CVAP    Popper    CVAP     CVAP    CVAP     CVAP   Popper
     9    9.75%    20.54%   4.71%   35.00%    0.206   8.35%    14.43% 4.69% 27.46%       0.139
    10    17.13%   18.55%   2.42%   38.10%    0.152   23.31%   26.28% 6.54% 56.13%       0.082
    12    9.16%    13.64%   7.61%   30.41%    0.222   14.04%   13.51% 7.78% 35.32%       0.162
    16    20.71%   30.15%   4.78%   55.64%    0.086   16.65%   37.77% 3.64% 58.06%       0.093
    22    15.49%   17.45%   3.46%   36.39%    0.228   8.21%    15.29% 1.00% 24.50%       0.291
    23    45.46%   24.69%   3.31%   73.47%    0.192   51.83%   21.04% 3.46% 76.33%       0.109
    30    9.13%    12.27%   4.95%   26.34%    0.140   8.43%    11.86% 4.41% 24.71%       0.244
    Avg                                       0.175                                      0.160

            Table 12: Demographic and compactness comparison between plans.




   Figure 6: Though Tarrant and Dallas Counties have almost exactly 5 Senate districts’
   worth of population, their territory is shared among 8 districts in the enacted plan, touch-
   ing dozens of counties.



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         S2168
        Alternative plan




   Figure 7: A close-up view of how Senate districts meet Tarrant and Dallas Counties in the
   state’s plan (top) and an alternative plan covering the exact same terrain (bottom).




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   5.4    Senate districts around Fort Bend (S2)
   Next, we move to the 5-district Senate cluster S2 in and near Fort Bend County. The
   alternative plan adds a majority-coalition district (SD 17) while retaining majority HCVAP
   in SD 6 and majority BCVAP in SD 15. This is accomplished with a plan that is far more
   compact than the enacted plan.

                            S2168                                   Alternative plan
           Black    Hisp     AAPI    BHA      Polsby    Black    Hisp      AAPI    BHA     Polsby
     SD
           CVAP     CVAP     CVAP    CVAP     Popper    CVAP     CVAP     CVAP     CVAP    Popper
     6    18.66%   60.40%   2.89%   81.96%      0.07   20.06%   57.17%    2.68%   79.91%    0.089
    13    50.01%   23.09%   9.11%   82.22%      0.12   51.50%   25.06%    4.72%   81.28%    0.142
    15    24.01%   27.61%   7.66%   59.28%     0.072   16.17%   27.33%    9.84%   53.34%    0.217
    17    12.47%   21.34%   9.15%   42.96%     0.125   17.24%   24.47% 15.58% 57.29%        0.319
    18    14.88%   24.92%   9.74%   49.55%     0.107   13.42%   23.31%    5.82%   42.55%    0.205
    Avg                                        0.099                                        0.194

            Table 13: Demographic and compactness comparison between plans.




           Figure 8: A wide view of enacted Senate districts in the Fort Bend area.



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                S2168
               Alternative plan




   Figure 9: A close-up view of Senate districts near Fort Bend in the state’s plan (top) and
   an alternative plan covering the exact same terrain (bottom).




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   5.5    House districts in Tarrant (H1)
   Turning to the state House, we begin with the 11-district cluster H1 in and around Tar-
   rant County. The alternative plan adds a majority-coalition district (HD 94) with slightly
   improved compactness overall. The alternative plan retains HD 90 as a majority-HCVAP
   district.




                            H2316                                  Alternative plan
           Black     Hisp     AAPI    BHA     Polsby    Black    Hisp    AAPI     BHA    Polsby
    HD
           CVAP     CVAP     CVAP     CVAP    Popper    CVAP     CVAP    CVAP     CVAP   Popper
    90    18.0%    51.04%    2.09%   71.13%     0.07   9.71%    53.84% 2.34% 65.89%       0.149
    91    6.20%    18.30%   5.93%    30.43%    0.443   12.16%   15.26% 7.02% 34.44%       0.222
    92    26.95%   23.14%    7.38%   57.47%    0.098   21.52%   25.76%   7.0%   54.29%    0.373
    93    10.33%   16.56%    6.59%   33.47%    0.306   8.67%    16.15% 8.22% 33.04%       0.253
    94    12.55%   13.63%    5.46%   31.63%    0.078   34.36%   19.01% 4.71% 58.07%       0.239
    95    48.11%   21.04%    2.75%   71.90%    0.089   47.31%   24.50% 2.70% 74.51%       0.222
    96    18.47%   13.22%    4.45%   36.14%    0.181   13.97%   13.94% 4.04% 31.95%       0.157
    97    10.22%   15.66%    3.40%   29.28%    0.264   11.97%   17.18% 2.69% 31.84%       0.229
    98    5.71%     9.90%   6.68%    22.29%    0.454   4.01%    10.99% 6.05% 21.04%       0.280
    99    9.49%    22.38%   1.94%    33.81%    0.248   6.77%    17.52% 2.33% 26.62%       0.282
    101   32.49%   22.43%   11.13%   66.05%    0.324   28.62%   17.64% 9.12% 55.38%       0.202
    Avg                                        0.232                                      0.237

            Table 14: Demographic and compactness comparison between plans.




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                H2316
               Alternative plan




   Figure 10: The House districts covering Tarrant County in the state’s plan (top) and an
   alternative plan (bottom).

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   5.6             House districts in Denton/Wise (H3)
   Next, we move to the 5-district House cluster H3 in Denton and Wise Counties. In the
   alternative plan, HD 65 is returned to a nearly identical configuration to the benchmark
   plan, giving a majority-coalition district in a far more compact plan than H2316.

                                           H2316                                    Alternative plan
                      Black        Hisp     AAPI    BHA      Polsby    Black     Hisp      AAPI    BHA     Polsby
    HD
                      CVAP         CVAP     CVAP    CVAP     Popper    CVAP     CVAP      CVAP     CVAP    Popper
    57               11.85%       13.22%   4.13%   29.20%     0.188   9.04%    12.93%     3.22%   25.19%    0.455
    63               10.18%       15.54%   9.01%   34.74%     0.258   4.42%     9.81%     5.70%   19.93%    0.324
    64               8.17%        14.37%   2.46%   25.0%      0.444   7.59%    14.04%     2.42%   24.05%    0.535
    65               12.03%       13.81%   9.04%   34.88%     0.159   18.44%   20.10% 11.67% 50.21%          0.28
    106              9.85%        11.87%   8.33%   30.05%     0.323   12.88%   12.51%     9.96%   35.35%    0.337
    Avg                                                       0.275                                         0.386

                             Table 15: Demographic and compactness comparison between plans.
           H2316
          Alternative plan




   Figure 11: The House districts covering Wise and Denton Counties in the state’s plan
   (top) and an alternative plan (bottom).


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   5.7    House districts in Lubbock County (H4)
   In Lubbock County (H4), the alternative plan keeps one district entirely within the county,
   creates a majority-coalition district, and greatly improves compactness. The new majority-
   coalition district is heavily Latino.



                           H2316                                 Alternative plan
          Black    Hisp     AAPI    BHA     Polsby   Black    Hisp     AAPI    BHA    Polsby
    HD
          CVAP     CVAP    CVAP     CVAP    Popper   CVAP     CVAP    CVAP     CVAP   Popper
    83    4.17%   29.40%   0.98%   34.56%    0.337   8.95%   42.22% 0.90% 52.07%       0.354
    84    9.15%   35.24%   1.91%   46.30%    0.256   4.70%   23.39% 1.98% 30.08%       0.431
    Avg                                      0.296                                     0.393

            Table 16: Demographic and compactness comparison between plans.




   Figure 12: The state’s House plan for districts touching Lubbock County, and an alterna-
   tive plan.




                                               23
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   5.8    House districts in Brazoria County (H5)
   In Brazoria County (H5), the alternative plan creates a majority-coalition district with a
   considerably more compact configuration.



                            H2316                                   Alternative plan
           Black    Hisp     AAPI    BHA      Polsby    Black    Hisp      AAPI    BHA     Polsby
    HD
           CVAP     CVAP     CVAP    CVAP     Popper    CVAP     CVAP     CVAP     CVAP    Popper
    25    16.77%   24.75%   5.46%   46.98%     0.197   9.20%    27.18%    1.16%   37.54%    0.381
    29    14.57%   25.59%   5.69%   45.85%     0.304   23.03%   22.89% 10.58% 56.50%        0.170
    Avg                                        0.251                                        0.276

            Table 17: Demographic and compactness comparison between plans.




   Figure 13: The state’s House plan for the districts that make up Brazoria County, and an
   alternative plan.




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   6     Polarized voting
   In this section I will summarize the findings from a thorough inquiry into racially polarized
   voting in Texas generally, and in the counties covering the VRA Section 2 claims by the
   Texas NAACP specifically.


   6.1     Methods
   To measure voting polarization, I employ an implementation of King’s ecological infer-
   ence (or "EI") package that has been developed by members of my Lab and our collab-
   orators in the Python programming language.4 My research group has multiple peer-
   reviewed publications on the methodology for ecological inference and best practices
   for using it in complex, multi-racial electoral settings [4, 1, 3].
       EI is the industry-leading method for approaching the so-called "ecological inference
   problem": since U.S. elections are conducted by secret ballot, there is no way to be cer-
   tain about patterns of voter preference by race and ethnicity. We must typically infer
   voter preference from ancillary data, such as by comparing the cast votes by precinct
   to the census demographics of the precinct. As a general matter: if precincts whose
   population is more heavily composed of White population systematically prefer one set
   of candidates, while more heavily non-White precincts systematically prefer other candi-
   dates, then we can conclude with high confidence that the groups’ candidate of choice
   differ.
       So-called "R ⇥ C" EI lets you choose R racial groups and C candidates; one powerful
   technique for estimating turnout by race is to build in a dummy candidate representing
   "No Vote." The rate at which each group does not vote can then be converted to a
   turnout estimate.
       Below, I will produce both statewide and regional estimates of voting preference by
   racial group. In this report, I will attempt to carefully explain the settings where EI
   provides higher or lower confidence and will justify why I have relied on EI in some ways
   and not others.

   6.1.1    Diagnostics

   I have performed many robustness checks, such as (a) running four-way (i.e., with
   Black/Hispanic/Asian/Other as four separate groups) or two-way (combining the minority
   groups so that the groupings are Coalition/Other); (b) running with VAP or CVAP as a
   population basis; (c) comparing full statewide runs to cluster-level data extracted from
   statewide runs or to cluster-specific runs; and (d) carefully monitoring the convergence
   diagnostics. These methodological checks have left me with high confidence in the con-
   clusions presented here.

   6.1.2    Elections, turnout and the use of primaries

   I have considered all 19 statewide general elections that took place from 2012-2020, as
   provided in the Texas Legislative Council data. For a comprehensive analysis such as the
   one conducted here, statewide elections are preferred to districted elections because
   they allow for regional comparisons, and their results can be assessed for proposed
   districts as well as for benchmark districts.
    4 To be precise, the Python package PyEI implements R ⇥ C multinomial Dirichlet, a Bayesian hierarchical

   model that is identical to the one in the R package eiPack.




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       EI is at its strongest when the number of racial groups and candidates is modest,
   the number of precincts is large, and there is considerable variation in demographics
   (i.e., some precincts have a high share of each group and some precincts have a low
   share). It is at its weakest when trying to make inferences about a small group that is
   not geographically concentrated (so that all precincts have about the same makeup), or
   when trying to recover missing data for many variables.
       The turnout dynamics in Texas have a major impact on the power and accuracy of EI—
   and all inference methods that compare precinct demographics to past votes. Consider
   the number of votes cast across different election types.5 Since 2016, general elections
   in Texas have always had at least 8 million cast votes—2016 and 2020 were presidential
   years, which typically have higher turnout, and 2018 was considered a wave year, where
   in Texas in particular the interest in the Senate contest between O’Rourke and Cruz was
   very high. The midterms in 2014 had the fewest cast votes of any in the last cycle,
   ranging from about 4.63 million in the Governor’s race to about 4.37 million down-ballot.
       By contrast, turnout in Democratic primary and runoff elections never reached 2 mil-
   lion, and even fell below 200,000 on a few occasions. Typical turnout in these primary
   and runoff elections is only 5% of citizens of voting age, starkly different from the over
   50% of adult citizens who cast votes for even, say, the Railroad Commissioner in a gen-
   eral election. This means that the dummy candidate "No Vote" becomes dominant in
   primary elections and can wash out the signal of preference between the actual candi-
   dates on the ballot. I have conducted a preliminary review using the same methodology
   for primaries; I found that the outputs tended to come with indicators of lower confi-
   dence, but concluded that this should not be interpreted to mean that the group lacks
   cohesion. Instead, this only reflects that the problem specification produced adverse
   conditions for the statistical method on the regional level.
       All of this means that EI will produce highly reliable estimates by subgroup in Texas
   general elections, which have relatively high turnout (overall and from each racial group)
   and only two major candidates. Primary elections give a far weaker signal of voting
   patterns by race because of low turnout and many candidates; runoff elections have
   only two candidates but have the lowest turnout of all.
       In the following sections, I will review the patterns in 19 general elections both on a
   statewide basis and in the individual county clusters. Across the board, they show that
   Black, Hispanic, and Asian voters share a clear preference for the same general election
   candidates, while the balance of Texans—numerically dominated by White voters—have
   an equally clear preference for other candidates.


   6.2     Key to RPV tables
   The tables in this section have the following data.
      • BHA est – point estimate of support for the given candidate from the combined
        coalition of Black, Hispanic, and Asian voters
      • O (2way) – point estimate of support from Other, i.e., non-coalition (mostly White)
        voters when the EI is run with R = 2 racial groups
      • B est, H est, A est – point estimate of support from individual minority groups of
        Black voters, Hispanic voters, and Asian voters, respectively
      • O (4way) – point estimate of support for the given candidate from Other, i.e., non-
        coalition (mostly White) voters when the EI is run with R = 4 racial groups
      5 To be precise, I am considering votes cast for candidates who received at least 5% of the vote, whom I

   label "non-marginal" candidates.


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      • conf – a confidence score indicating how likely this candidate is to be the group’s
        candidate of choice. This score is derived by drawing between 2000 and 8000 times
        from the beta distributions learned by the EI model. A score of 1 indicates that the
        candidate had the most votes in every single draw. A score of 0.752, for instance,
        means they led on over 75% of draws. In the tables, I have shaded light gray all
        estimates with a confidence score below 90%, and in dark gray all estimates with a
        confidence score below 60%. These are regarded as uncertain.


   6.3        Statewide

    Contest              Candidates           BHA est   conf   O (2way)   conf   B est   conf   H est   conf   A est   conf    O (4way)   conf
                         Barack Obama         0.893      1      0.166        0   0.932    1     0.855    1     0.668    1       0.172      0
    President 2012
                         Mitt Romney          0.107      0      0.835        1   0.068    0     0.145    0     0.332    0       0.828      1
                         Ted Cruz             0.130      0      0.816        1   0.069    0     0.186    0     0.370    0       0.808      1
    U.S. Senate 2012
                         Paul Sadler          0.870      1      0.184        0   0.931    1     0.814    1     0.630    1       0.192      0
                         Jim Hogan            0.903      1      0.186        0   0.936    1     0.867    1     0.615   0.960    0.197      0
    Ag. Comm. 2014
                         Sid Miller           0.097      0      0.814        1   0.064    0     0.133    0     0.385   0.040    0.803      1
                         Greg Abbott          0.110      0      0.798        1   0.063    0     0.169    0     0.348    0       0.785      1
    Governor 2014
                         Wendy Davis          0.890      1      0.202        0   0.937    1     0.832    1     0.652    1       0.215      0
                         Dan Patrick          0.096      0      0.802        1   0.065    0     0.134    0     0.324    0       0.789      1
    Lt. Governor 2014
                         Leticia VanDePutte   0.904      1      0.198        0   0.935    1     0.866    1     0.676    1       0.211      0
                         Steve Brown          0.908      1      0.185        0   0.937    1     0.869    1     0.629    1       0.196      0
    RR Comm. 2014
                         Ryan Sitton          0.092      0      0.815        1   0.063    0     0.131    0     0.371    0       0.804      1
                         David Alameel        0.886      1      0.157        0   0.936    1     0.823    1     0.660    1       0.168      0
    U.S. Senate 2014
                         John Cornyn          0.114      0      0.843        1   0.640    0     0.178    0     0.341    0       0.832      1
                         Hillary Clinton      0.909      1      0.196        0   0.944    1     0.867    1     0.852    1       0.193      0
    President 2016
                         Donald Trump         0.091      0      0.804        1   0.056    0     0.133    0     0.148    0       0.807      1
                         Wayne Christian      0.087      0      0.839        1   0.056    0     0.121    0     0.190    0       0.838      1
    RR Comm. 2016
                         Grady Yarbrough      0.913      1      0.161        0   0.944    1     0.879    1     0.810    1       0.162      0
                         Justin Nelson        0.914      1      0.255        0   0.943    1     0.867    1     0.876    1       0.246      0
    Atty. General 2018
                         Ken Paxton           0.086      0      0.745        1   0.057    0     0.133    0     0.124    0       0.754      1
                         Joi Chevalier        0.913      1      0.207        0   0.947    1     0.870    1     0.867    1       0.197      0
    Comptroller 2018
                         Glenn Hegar          0.087      0      0.793        1   0.053    0     0.130    0     0.133    0       0.803      1
                         Greg Abbott          0.123      0      0.802        1   0.061    0     0.186    0     0.133    0       0.814      1
    Governor 2018
                         Lupe Valdez          0.877      1      0.198        0   0.939    1     0.814    1     0.868    1       0.186      0
                         George P. Bush       0.101      0      0.795        1   0.055    0     0.158    0     0.134    0       0.805      1
    Land Comm. 2018
                         Miguel Suazo         0.899      1      0.205        0   0.945    1     0.842    1     0.866    1       0.195      0
                         Mike Collier         0.902      1      0.254        0   0.943    1     0.853    1     0.871    1       0.245      0
    Lt. Governor 2018
                         Dan Patrick          0.098      0      0.746        1   0.057    0     0.147    0     0.129    0       0.755      1
                         Christi Craddick     0.083      0      0.794        1   0.054    0     0.129    0     0.136    0       0.802      1
    RR Comm. 2018
                         Roman McAllen        0.917      1      0.206        0   0.946    1     0.871    1     0.864    1       0.198      0
                         Ted Cruz             0.086      0      0.743        1   0.057    0     0.133    0     0.119    0       0.751      1
    U.S. Senate 2018
                         Beto O’Rourke        0.914      1      0.257        0   0.943    1     0.867    1     0.881    1       0.249      0
                         Joe Biden            0.856      1      0.252        0   0.945    1     0.772    1     0.888    1       0.241      0
    President 2020
                         Donald Trump         0.144      0      0.748        1   0.055    0     0.228    0     0.112    0       0.759      1
                         Chrysta Castaneda    0.874      1      0.217        0   0.946    1     0.806    1     0.874    1       0.205      0
    RR Comm. 2020
                         James Wright         0.126      0      0.783        1   0.054    0     0.194    0     0.126    0       0.795      1
                         John Cornyn          0.141      0      0.774        1   0.055    0     0.223    0     0.128    0       0.785      1
    U.S. Senate 2020
                         MJ Hegar             0.859      1      0.226        0   0.945    1     0.778    1     0.872    1       0.216      0


                                                  Table 18: Statewide results.

      The coalition of Black, Latino, and Asian voters has supported its preferred candidate
   at an estimated rate of at least 85% in all 19 contests. Other/White voters have gone
   the other way, backing the Republican at an estimated rate of at least 74% in all 19
   contests. In every case, this has been enough to block the minority-preferred candidate
   from office. Indeed, no Democrat has won statewide office in Texas since 1994, the
   longest such streak in the nation.


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      To illustrate these findings, let us focus on one election—the contest between Lupe
   Valdez and Greg Abbott for Governor in 2018—and consider plots that show the esti-
   mated support level of each group and help to visualize the confidence in this determi-
   nation.
      Taller and skinnier distributions are more certain; fatter distributions have probability
   that is more spread out over different values. This plot illustrates that whether grouped
   together as a coalition or considered individually, Black, Hispanic, and Asian voters all
   prefer Lupe Valdez by at least 4 to 1, while Other (mostly White) voters lean equally far
   toward her opponent, Greg Abbott.




   Figure 14: Estimated voting behavior of the Black+Hispanic+Asian (BHA) coalition ver-
   sus (mostly White) Other (O) voters in the 2018 race for Governor. Top: Combined
   support of the coalition is starkly different from the rest of the population. Bottom: We
   can break this down by individual groups to get a clear picture of group preference.




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   6.4        Tarrant/Dallas
   6.4.1      Candidates of choice

    Contest              Candidates           BHA est   conf   O (2way)   conf   B est   conf   H est   conf   A est   conf    O (4way)   conf
                         Barack Obama         0.945      1      0.244        0   0.961    1     0.911    1     0.535   0.752    0.261      0
    President 2012
                         Mitt Romney          0.055      0      0.756        1   0.039    0     0.089    0     0.465   0.248    0.739      1
                         Ted Cruz             0.061      0      0.753        1   0.042    0     0.112    0     0.410   0.006    0.740      1
    U.S. Senate 2012
                         Paul Sadler          0.939      1      0.247        0   0.958    1     0.888    1     0.590   0.994    0.260      0
                         Jim Hogan            0.942      1      0.264        0   0.960    1     0.902    1     0.516   0.649    0.272      0
    Ag. Comm. 2014
                         Sid Miller           0.058      0      0.736        1   0.041    0     0.098    0     0.484   0.351    0.728      1
                         Greg Abbott          0.060      0      0.692        1   0.042    0     0.108    0     0.485   0.546    0.688      1
    Governor 2014
                         Wendy Davis          0.940      1      0.308        0   0.958    1     0.892    1     0.515   0.454    0.312      0
                         Dan Patrick          0.063      0      0.694        1   0.045    0     0.112    0     0.485   0.494    0.689      1
    Lt. Governor 2014
                         Leticia VanDePutte   0.937      1      0.306        0   0.955    1     0.888    1     0.515   0.506    0.311      0
                         Steve Brown          0.937      1      0.267        0   0.961    1     0.901    1     0.536   0.784    0.272      0
    RR Comm. 2014
                         Ryan Sitton          0.063      0      0.733        1   0.039    0     0.099    0     0.464   0.216    0.728      1
                         David Alameel        0.943      1      0.245        0   0.957    1     0.889    1     0.593   0.753    0.251      0
    U.S. Senate 2014
                         John Cornyn          0.057      0      0.755        1   0.043    0     0.111    0     0.407   0.247    0.749      1
                         Hillary Clinton      0.957      1      0.326        0   0.966    1     0.941    1     0.648   0.986    0.342      0
    President 2016
                         Donald Trump         0.043      0      0.674        1   0.034    0     0.059    0     0.352   0.014    0.658      1
                         Wayne Christian      0.041      0      0.746        1   0.033    0     0.056    0     0.365    0       0.727      1
    RR Comm. 2016
                         Grady Yarbrough      0.959      1      0.254        0   0.967    1     0.944    1     0.635    1       0.273      0
                         Justin Nelson        0.958      1      0.394        0   0.966    1     0.942    1     0.689    1       0.407      0
    Atty. General 2018
                         Ken Paxton           0.042      0      0.606        1   0.034    0     0.058    0     0.311    0       0.593      1
                         Joi Chevalier        0.960      1      0.340        0   0.967    1     0.949    1     0.718    1       0.351      0
    Comptroller 2018
                         Glenn Hegar          0.040      0      0.660        1   0.033    0     0.051    0     0.282    0       0.649      1
                         Greg Abbott          0.050      0      0.684        1   0.049    0     0.057    0     0.294    0       0.671      1
    Governor 2018
                         Lupe Valdez          0.951      1      0.316        0   0.951    1     0.943    1     0.706    1       0.329      0
                         George P. Bush       0.041      0      0.681        1   0.038    0     0.060    0     0.324    0       0.666      1
    Land Comm. 2018
                         Miguel Suazo         0.959      1      0.319        0   0.962    1     0.940    1     0.676    1       0.334      0
                         Mike Collier         0.959      1      0.378        0   0.964    1     0.940    1     0.697    1       0.392      0
    Lt. Governor 2018
                         Dan Patrick          0.041      0      0.623        1   0.036    0     0.060    0     0.303    0       0.608      1
                         Christi Craddick     0.041      0      0.663        1   0.035    0     0.053    0     0.281    0       0.651      1
    RR Comm. 2018
                         Roman McAllen        0.960      1      0.337        0   0.966    1     0.947    1     0.719    1       0.349      0
                         Ted Cruz             0.043      0      0.590        1   0.035    0     0.056    0     0.325    0       0.579      1
    U.S. Senate 2018
                         Beto O’Rourke        0.957      1      0.410        0   0.965    1     0.944    1     0.675    1       0.421      0
                         Joe Biden            0.943      1      0.401        0   0.964    1     0.899    1     0.728    1       0.407      0
    President 2020
                         Donald Trump         0.058      0      0.599        1   0.036    0     0.101    0     0.272    0       0.593      1
                         Chrysta Castaneda    0.949      1      0.352        0   0.966    1     0.918    1     0.701    1       0.358      0
    RR Comm. 2020
                         James Wright         0.051      0      0.648        1   0.034    0     0.082    0     0.299    0       0.642      1
                         John Cornyn          0.058      0      0.640        1   0.037    0     0.093    0     0.302    0       0.637      1
    U.S. Senate 2020
                         MJ Hegar             0.942      1      0.359        0   0.963    1     0.906    1     0.698    1       0.363      0


                                               Table 19: Tarrant/Dallas results.

      Asian voters were assessed to have less than a 90% confidence score for their candi-
   date of choice six times, all in 2012 or 2014 (shaded in the table above). The confidence
   dipped below 60% in two of those contests (shaded dark gray). For the other 108 out-
   comes reported here, the confidence score is at least 98%.
      Black voters’ support for the POC candidate of choice is uniformly above 95% cohe-
   sion. Latino support is always above 88%. Asian support, in elections with confidence
   scores over 90%, has always stayed above 59%—and in the twelve contests since 2016,
   each one has Asian support for the POC-preferred candidate estimated at 63% or higher.
   Meanwhile, Other/White voters have always inclined the opposite way, supporting the
   Republican at shares of at least 58%.




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   6.5        Harris/Fort Bend
   6.5.1      Candidates of choice

    Contest              Candidates           BHA est   conf   O (2way)   conf   B est   conf   H est   conf   A est   conf    O (4way)   conf
                         Barack Obama         0.925      1      0.152        0   0.963    1     0.873    1     0.598   0.999    0.177      0
    President 2012
                         Mitt Romney          0.075      0      0.848        1   0.037    0     0.127    0     0.402   0.001    0.823      1
                         Ted Cruz             0.084      0      0.846        1   0.039    0     0.153    0     0.431   0.14     0.824      1
    U.S. Senate 2012
                         Paul Sadler          0.916      1      0.154        0   0.961    1     0.847    1     0.569   0.86     0.176      0
                         Jim Hogan            0.939      1      0.170        0   0.963    1     0.873    1     0.600   0.979    0.190      0
    Ag. Comm. 2014
                         Sid Miller           0.061      0      0.830        1   0.037    0     0.127    0     0.400   0.021    0.810      1
                         Greg Abbott          0.075      0      0.769        1   0.036    0     0.150    0     0.453   0.148    0.760      1
    Governor 2014
                         Wendy Davis          0.925      1      0.231        0   0.964    1     0.850    1     0.547   0.852    0.240      0
                         Dan Patrick          0.075      0      0.764        1   0.038    0     0.170    0     0.446   0.139    0.752      1
    Lt. Governor 2014
                         Leticia VanDePutte   0.925      1      0.235        0   0.962    1     0.831    1     0.554   0.861    0.248      0
                         Steve Brown          0.937      1      0.176        0   0.961    1     0.883    1     0.584   0.952    0.193      0
    RR Comm. 2014
                         Ryan Sitton          0.063      0      0.824        1   0.039    0     0.117    0     0.416   0.048    0.807      1
                         David Alameel        0.926      1      0.168        0   0.962    1     0.842    1     0.487   0.410    0.184      0
    U.S. Senate 2014
                         John Cornyn          0.074      0      0.833        1   0.038    0     0.158    0     0.513   0.590    0.816      1
                         Hillary Clinton      0.950      1      0.256        0   0.971    1     0.918    1     0.777    1       0.264      0
    President 2016
                         Donald Trump         0.050      0      0.744        1   0.029    0     0.082    0     0.223    0       0.736      1
                         Wayne Christian      0.054      0      0.833        1   0.027    0     0.074    0     0.267    0       0.821      1
    RR Comm. 2016
                         Grady Yarbrough      0.946      1      0.167        0   0.973    1     0.926    1     0.733    1       0.179      0
                         Justin Nelson        0.941      1      0.324        0   0.969    1     0.901    1     0.786    1       0.325      0
    Atty. General 2018
                         Ken Paxton           0.059      0      0.676        1   0.032    0     0.099    0     0.214    0       0.675      1
                         Joi Chevalier        0.943      1      0.254        0   0.971    1     0.920    1     0.764    1       0.252      0
    Comptroller 2018
                         Glenn Hegar          0.057      0      0.746        1   0.029    0     0.080    0     0.236    0       0.748      1
                         Greg Abbott          0.084      0      0.751        1   0.052    0     0.123    0     0.261    0       0.747      1
    Governor 2018
                         Lupe Valdez          0.916      1      0.249        0   0.948    1     0.877    1     0.739    1       0.253      0
                         George P. Bush       0.064      0      0.734        1   0.033    0     0.098    0     0.248    0       0.729      1
    Land Comm. 2018
                         Miguel Suazo         0.936      1      0.266        0   0.967    1     0.902    1     0.752    1       0.271      0
                         Mike Collier         0.935      1      0.314        0   0.966    1     0.887    1     0.788    1       0.311      0
    Lt. Governor 2018
                         Dan Patrick          0.065      0      0.686        1   0.034    0     0.113    0     0.212    0       0.689      1
                         Christi Craddick     0.057      0      0.747        1   0.028    0     0.084    0     0.230    0       0.748      1
    RR Comm. 2018
                         Roman McAllen        0.943      1      0.253        0   0.973    1     0.916    1     0.770    1       0.252      0
                         Ted Cruz             0.058      0      0.667        1   0.030    0     0.095    0     0.191    0       0.673      1
    U.S. Senate 2018
                         Beto O’Rourke        0.942      1      0.333        0   0.970    1     0.905    1     0.809    1       0.327      0
                         Joe Biden            0.873      1      0.322        0   0.968    1     0.754    1     0.715    1       0.327      0
    President 2020
                         Donald Trump         0.127      0      0.678        1   0.032    0     0.246    0     0.285    0       0.673      1
                         Chrysta Castaneda    0.896      1      0.272        0   0.969    1     0.813    1     0.681    1       0.287      0
    RR Comm. 2020
                         James Wright         0.104      0      0.728        1   0.031    0     0.187    0     0.319    0       0.713      1
                         John Cornyn          0.122      0      0.715        1   0.029    0     0.235    0     0.325    0       0.704      1
    U.S. Senate 2020
                         MJ Hegar             0.878      1      0.285        0   0.971    1     0.765    1     0.675    1       0.296      0


                                              Table 20: Harris/Fort Bend results.

      In Harris/Fort Bend, as in Tarrant/Dallas, the only relatively higher uncertainty at-
   taches to Asian voting preferences in 2012 and 2014 (shaded in the table above). Since
   mid-decade, all groups give extremely clear candidates of choice.
      Among contests with at least 90% confidence score:
      • Black support for D is at least 95%;

      • Latino support for D is at least 88%;
      • Asian support for D is at least 58% (and at least 67% since 2016);
      • Other/White support for R is at least 67%.




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   6.6        Denton/Wise
   6.6.1      Candidates of choice

    Contest              Candidates           BHA est   conf   O (2way)   conf   B est   conf    H est   conf    A est   conf    O (4way)   conf
                         Barack Obama         0.910      1      0.189      0     0.723   0.917   0.851    1      0.788   0.998    0.209      0
    President 2012
                         Mitt Romney          0.090      0      0.811      1     0.277   0.083   0.149    0      0.211   0.002    0.791      1
                         Ted Cruz             0.098      0      0.807      1     0.256   0.085   0.144   0.004   0.255   0.022    0.786      1
    U.S. Senate 2012
                         Paul Sadler          0.902      1      0.193      0     0.744   0.915   0.856   0.996   0.745   0.978    0.214      0
                         Jim Hogan            0.859      1      0.215      0     0.728   0.934   0.831   0.998   0.659   0.872    0.214      0
    Ag. Comm. 2014
                         Sid Miller           0.141      0      0.785      1     0.272   0.066   0.170   0.002   0.341   0.128    0.786      1
                         Greg Abbott          0.143      0      0.749      1     0.282   0.074   0.158   0.001   0.347   0.134    0.749      1
    Governor 2014
                         Wendy Davis          0.857      1      0.251      0     0.718   0.926   0.842   0.999   0.653   0.866    0.251      0
                         Dan Patrick          0.149      0      0.757      1     0.259   0.057   0.209   0.004   0.304   0.087    0.754      1
    Lt. Governor 2014
                         Leticia VanDePutte   0.851      1      0.243      0     0.741   0.943   0.791   0.996   0.696   0.913    0.246      0
                         Steve Brown          0.891      1      0.217      0     0.738   0.939   0.821   0.988   0.682   0.917    0.216      0
    RR Comm. 2014
                         Ryan Sitton          0.109      0      0.783      1     0.262   0.061   0.179   0.012   0.318   0.083    0.784      1
                         David Alameel        0.887      1      0.192      0     0.738   0.935   0.825    1      0.651   0.865    0.194      0
    U.S. Senate 2014
                         John Cornyn          0.113      0      0.808      1     0.262   0.065   0.175    0      0.349   0.135    0.806      1
                         Hillary Clinton      0.919      1      0.209      0     0.829   0.987   0.868    1      0.867    1       0.236      0
    President 2016
                         Donald Trump         0.081      0      0.791      1     0.172   0.013   0.132    0      0.133    0       0.764      1
                         Wayne Christian      0.074      0      0.844      1     0.155   0.004   0.155    0      0.161    0       0.816      1
    RR Comm. 2016
                         Grady Yarbrough      0.926      1      0.156      0     0.845   0.996   0.845    1      0.839    1       0.184      0
                         Justin Nelson        0.944      1      0.269      0     0.906    1      0.779   0.988   0.859    1       0.309      0
    Atty. General 2018
                         Ken Paxton           0.057      0      0.731      1     0.094    0      0.221   0.012   0.141    0       0.691      1
                         Joi Chevalier        0.937      1      0.220      0     0.915    1      0.786   0.996   0.856    1       0.256      0
    Comptroller 2018
                         Glenn Hegar          0.063      0      0.780      1     0.085    0      0.214   0.004   0.144    0       0.744      1
                         Greg Abbott          0.062      0      0.798      1     0.095    0      0.168   0.001   0.176    0       0.758      1
    Governor 2018
                         Lupe Valdez          0.938      1      0.202      0     0.905    1      0.833   0.999   0.824    1       0.242      0
                         George P. Bush       0.058      0      0.798      1     0.079    0      0.191   0.005   0.172    0       0.757      1
    Land Comm. 2018
                         Miguel Suazo         0.942      1      0.202      0     0.921    1      0.809   0.995   0.828    1       0.243      0
                         Mike Collier         0.939      1      0.269      0     0.912    1      0.800   0.991   0.851    1       0.300      0
    Lt. Governor 2018
                         Dan Patrick          0.061      0      0.732      1     0.088    0      0.200   0.009   0.149    0       0.700      1
                         Christi Craddick     0.063      0      0.786      1     0.088    0      0.183   0.008   0.159    0       0.746      1
    RR Comm. 2018
                         Roman McAllen        0.937      1      0.214      0     0.912    1      0.817   0.992   0.841    1       0.254      0
                         Ted Cruz             0.051      0      0.724      1     0.086    0      0.210   0.005   0.121    0       0.681      1
    U.S. Senate 2018
                         Beto O’Rourke        0.949      1      0.276      0     0.914    1      0.790   0.995   0.879    1       0.319      0
                         Joe Biden            0.967      1      0.259      0     0.943    1      0.79    0.984   0.912    1       0.311      0
    President 2020
                         Donald Trump         0.033      0      0.741      1     0.057    0      0.21    0.016   0.088    0       0.689      1
                         Chrysta Castaneda    0.969      1      0.215      0     0.944    1      0.831   0.998   0.876    1       0.268      0
    RR Comm. 2020
                         James Wright         0.031      0      0.785      1     0.057    0      0.169   0.002   0.124    0       0.732      1
                         John Cornyn          0.026      0      0.778      1     0.059    0      0.185   0.007   0.128    0       0.722      1
    U.S. Senate 2020
                         MJ Hegar             0.974      1      0.222      0     0.941    1      0.815   0.993   0.872    1       0.278      0


                                                 Table 21: Denton/Wise results.

      Denton/Wise continues the pattern that relatively higher uncertainty (confidence score
   below 90%) attaches only to Asian voting preferences in 2012 and 2014 (shaded in the
   table above). Since mid-decade, all groups give extremely clear candidates of choice.
      Among contests with at least 90% confidence score:
      • Black support for D is at least 72%;
      • Latino support for D is at least 77%;

      • Asian support for D is at least 68% (and at least 82% since 2016);
      • Other/White support for R is at least 68%.




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   6.7        Lubbock
   6.7.1      Candidates of choice

    Contest              Candidates           BHA est   conf   O (2way)   conf   B est   conf   H est   conf    A est   conf    O (4way)   conf
                         Barack Obama         0.925      1      0.102      0     0.893    1     0.902    1      0.404   0.284    0.092      0
    President 2012
                         Mitt Romney          0.075      0      0.898      1     0.107    0     0.098    0      0.596   0.716    0.908      1
                         Ted Cruz             0.089      0      0.924      1     0.133    0     0.112    0      0.561   0.685    0.911      1
    U.S. Senate 2012
                         Paul Sadler          0.911      1      0.076      0     0.867    1     0.888    1      0.439   0.315    0.089      0
                         Jim Hogan            0.922      1      0.110      0     0.900    1     0.860    1      0.616   0.743    0.112      0
    Ag. Comm. 2014
                         Sid Miller           0.078      0      0.890      1     0.100    0     0.140    0      0.384   0.257    0.888      1
                         Greg Abbott          0.096      0      0.891      1     0.104    0     0.175    0      0.322   0.122    0.889      1
    Governor 2014
                         Wendy Davis          0.904      1      0.109      0     0.896    1     0.825    1      0.678   0.878    0.111      0
                         Dan Patrick          0.090      0      0.895      1     0.088    0     0.153   0.001   0.420   0.301    0.892      1
    Lt. Governor 2014
                         Leticia VanDePutte   0.910      1      0.105      0     0.912    1     0.847   0.999   0.580   0.699    0.108      0
                         Steve Brown          0.921      1      0.099      0     0.905    1     0.847    1      0.601   0.758    0.102      0
    RR Comm. 2014
                         Ryan Sitton          0.079      0      0.901      1     0.095    0     0.153    0      0.399   0.242    0.898      1
                         David Alameel        0.915      1      0.074      0     0.897    1     0.830    1      0.579   0.711    0.086      0
    U.S. Senate 2014
                         John Cornyn          0.085      0      0.926      1     0.103    0     0.170    0      0.421   0.289    0.914      1
                         Hillary Clinton      0.906      1      0.157      0     0.880    1     0.909    1      0.631   0.781    0.111      0
    President 2016
                         Donald Trump         0.094      0      0.843      1     0.120    0     0.090    0      0.369   0.219    0.889      1
                         Wayne Christian      0.097      0      0.877      1     0.142    0     0.091    0      0.420   0.279    0.911      1
    RR Comm. 2016
                         Grady Yarbrough      0.903      1      0.123      0     0.858    1     0.909    1      0.580   0.721    0.089      0
                         Justin Nelson        0.909      1      0.241      0     0.886    1     0.902    1      0.812   0.999    0.178      0
    Atty. General 2018
                         Ken Paxton           0.091      0      0.759      1     0.114    0     0.098    0      0.188   0.001    0.822      1
                         Joi Chevalier        0.911      1      0.181      0     0.905    1     0.891    1      0.778   0.996    0.119      0
    Comptroller 2018
                         Glenn Hegar          0.089      0      0.819      1     0.095    0     0.109    0      0.222   0.004    0.881      1
                         Greg Abbott          0.101      0      0.814      1     0.120    0     0.120    0      0.229   0.001    0.875      1
    Governor 2018
                         Lupe Valdez          0.899      1      0.186      0     0.880    1     0.880    1      0.771   0.999    0.125      0
                         George P. Bush       0.094      0      0.822      1     0.100    0     0.115    0      0.207    0       0.878      1
    Land Comm. 2018
                         Miguel Suazo         0.906      1      0.178      0     0.900    1     0.885    1      0.793    1       0.122      0
                         Mike Collier         0.908      1      0.264      0     0.890    1     0.875    1      0.761   0.990    0.209      0
    Lt. Governor 2018
                         Dan Patrick          0.092      0      0.736      1     0.110    0     0.125    0      0.239   0.010    0.791      1
                         Christi Craddick     0.093      0      0.838      1     0.087    0     0.103    0      0.239   0.010    0.884      1
    RR Comm. 2018
                         Roman McAllen        0.907      1      0.162      0     0.913    1     0.897    1      0.761   0.990    0.116      0
                         Ted Cruz             0.094      0      0.771      1     0.076    0     0.110    0      0.184   0.004    0.820      1
    U.S. Senate 2018
                         Beto O’Rourke        0.906      1      0.229      0     0.924    1     0.890    1      0.816   0.996    0.180      0
                         Joe Biden            0.866      1      0.251      0     0.884    1     0.874    1      0.765   0.967    0.197      0
    President 2020
                         Donald Trump         0.134      0      0.750      1     0.116    0     0.126    0      0.235   0.033    0.803      1
                         Chrysta Castaneda    0.870      1      0.207      0     0.875    1     0.909    1      0.761   0.971    0.145      0
    RR Comm. 2020
                         James Wright         0.130      0      0.793      1     0.125    0     0.091    0      0.239   0.029    0.855      1
                         John Cornyn          0.098      0      0.779      1     0.120    0     0.114    0      0.231   0.014    0.831      1
    U.S. Senate 2020
                         MJ Hegar             0.902      1      0.221      0     0.880    1     0.886    1      0.769   0.986    0.169      0


                                                   Table 22: Lubbock results.

      In Lubbock, relatively higher uncertainty (confidence score below 90%) is seen in
   Asian voting preferences up to 2016 (shaded in the table above). Since 2018, Asian
   voters give a very clear candidate of choice—and other groups have had clear choices
   throughout the decade.
      Among contests with at least 90% confidence score:
      • Black support for D is at least 85%;

      • Latino support for D is at least 82%;
      • Asian support for D is at least 76%;
      • Other/White support for R is at least 73%.




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   6.8        Brazoria
   6.8.1      Candidates of choice

    Contest              Candidates           BHA est   conf   O (2way)   conf   B est   conf    H est   conf    A est   conf    O (4way)   conf
                         Barack Obama         0.883      1      0.089      0     0.874    1      0.754   0.984   0.750   0.990    0.122      0
    President 2012
                         Mitt Romney          0.117      0      0.911      1     0.126    0      0.246   0.016   0.250   0.010    0.878      1
                         Ted Cruz             0.143      0      0.899      1     0.133    0      0.263   0.022   0.259   0.006    0.864      1
    U.S. Senate 2012
                         Paul Sadler          0.857      1      0.101      0     0.867    1      0.737   0.978   0.741   0.994    0.136      0
                         Jim Hogan            0.897      1      0.114      0     0.853    1      0.643   0.857   0.796   0.999    0.148      0
    Ag. Comm. 2014
                         Sid Miller           0.103      0      0.886      1     0.147    0      0.357   0.143   0.204   0.001    0.852      1
                         Greg Abbott          0.097      0      0.886      1     0.153    0      0.358   0.158   0.175    0       0.840      1
    Governor 2014
                         Wendy Davis          0.903      1      0.114      0     0.847    1      0.642   0.842   0.825    1       0.160      0
                         Dan Patrick          0.130      0      0.866      1     0.159   0.002   0.404   0.256   0.182    0       0.836      1
    Lt. Governor 2014
                         Leticia VanDePutte   0.871      1      0.134      0     0.841   0.998   0.596   0.744   0.818    1       0.164      0
                         Steve Brown          0.887      1      0.115      0     0.852    1      0.624   0.812   0.804   0.996    0.140      0
    RR Comm. 2014
                         Ryan Sitton          0.113      0      0.885      1     0.148    0      0.377   0.188   0.196   0.004    0.860      1
                         David Alameel        0.888      1      0.085      0     0.857   0.997   0.627   0.828   0.793   0.995    0.117      0
    U.S. Senate 2014
                         John Cornyn          0.112      0      0.915      1     0.143   0.003   0.373   0.172   0.207   0.005    0.883      1
                         Hillary Clinton      0.924      1      0.070      0     0.915    1      0.760   0.994   0.887    1       0.124      0
    President 2016
                         Donald Trump         0.076      0      0.930      1     0.085    0      0.240   0.006   0.113    0       0.876      1
                         Wayne Christian      0.121      0      0.930      1     0.115    0      0.240   0.008   0.205    0       0.891      1
    RR Comm. 2016
                         Grady Yarbrough      0.879      1      0.070      0     0.885    1      0.760   0.992   0.795    1       0.109      0
                         Justin Nelson        0.922      1      0.090      0     0.907    1      0.771   0.996   0.887    1       0.146      0
    Atty. General 2018
                         Ken Paxton           0.077      0      0.910      1     0.093    0      0.229   0.004   0.113    0       0.854      1
                         Joi Chevalier        0.905      1      0.061      0     0.905    1      0.773   0.995   0.858    1       0.109      0
    Comptroller 2018
                         Glenn Hegar          0.095      0      0.939      1     0.095    0      0.227   0.005   0.142    0       0.891      1
                         Greg Abbott          0.120      0      0.935      1     0.137    0      0.249   0.009   0.170    0       0.896      1
    Governor 2018
                         Lupe Valdez          0.880      1      0.065      0     0.864    1      0.751   0.991   0.830    1       0.104      0
                         George P. Bush       0.111      0      0.930      1     0.106    0      0.250   0.014   0.166    0       0.879      1
    Land Comm. 2018
                         Miguel Suazo         0.889      1      0.070      0     0.894    1      0.750   0.986   0.834    1       0.121      0
                         Mike Collier         0.908      1      0.095      0     0.908    1      0.754   0.978   0.862    1       0.153      0
    Lt. Governor 2018
                         Dan Patrick          0.092      0      0.905      1     0.091    0      0.246   0.022   0.138    0       0.847      1
                         Christi Craddick     0.088      0      0.933      1     0.090    0      0.231   0.002   0.145    0       0.883      1
    RR Comm. 2018
                         Roman McAllen        0.912      1      0.067      0     0.910    1      0.769   0.998   0.855    1       0.117      0
                         Ted Cruz             0.061      0      0.914      1     0.086    0      0.212   0.006   0.095    0       0.862      1
    U.S. Senate 2018
                         Beto O’Rourke        0.939      1      0.086      0     0.914    1      0.788   0.994   0.905    1       0.138      0
                         Joe Biden            0.934      1      0.063      0     0.937    1      0.761   0.991   0.886    1       0.124      0
    President 2020
                         Donald Trump         0.066      0      0.937      1     0.063    0      0.239   0.009   0.114    0       0.876      1
                         Chrysta Castaneda    0.906      1      0.052      0     0.922    1      0.765   0.996   0.851    1       0.112      0
    RR Comm. 2020
                         James Wright         0.094      0      0.948      1     0.078    0      0.235   0.004   0.149    0       0.888      1
                         John Cornyn          0.098      0      0.942      1     0.080    0      0.230   0.006   0.147    0       0.888      1
    U.S. Senate 2020
                         MJ Hegar             0.902      1      0.058      0     0.920    1      0.770   0.994   0.853    1       0.112      0


                                                      Table 23: Brazoria results.

      Finally, Brazoria results show a somewhat different pattern than the other county
   clusters: here, relatively higher uncertainty (confidence score below 90%) is found in
   Hispanic voting preferences from 2012 and 2014 (shaded in the table above). Since
   mid-decade, candidates of choice for all groups are extremely clear.
      Among contests with at least 90% confidence score:
      • Black support for D is at least 85%;

      • Latino support for D is at least 73%;
      • Asian support for D is at least 75%;
      • Other/White support for R is at least 83%.




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   6.9     Turnout

              Contest                     Black est      Hisp est     Asian est       Other/White est
              President 2016                 .335          .223          .394                .540
              RR Comm. 2016                  .327          .191          .323                .521
              Atty. General 2018             .291          .192          .483                .517
              Comptroller 2018               .295          .184          .471                .509
              Governor 2018                  .293          .197          .483                .524
              Land Comm. 2018                .296          .191          .473                .509
              Lt. Governor 2018              .286          .193          .471                .522
              RR Comm. 2018                  .296          .189          .473                .509
              U.S. Senate 2018               .296          .202          .509                .526
              President 2020                 .397          .282          .715                .693
              RR Comm. 2020                  .387          .260          .662                .667
              U.S. Senate 2020               .387          .263          .692                .684

                                         Table 24: Turnout estimates.

      In Table 24, I report the EI-estimated turnout as a share of voting age population for
   each group. I have reported the numbers since 2016, since the 2012 and 2014 runs
   often had at least one group with a lower confidence score (under 90%) in the tables
   above. These turnout figures show consistently lower participation rates for the minority
   groups than for the Other (mostly White) adults in Texas, though Asian voters may be
   catching up with the majority group.6
      As a check on the methodology, I have cross-referenced the Census Bureau publi-
   cation entitled Voting and Registration in the Election of November 2020 (Table P20).7
   These survey-based estimates were used to corroborate the participation gap observed
   in my EI-derived results: for instance, surveys report a double-digit gap in the rate of
   voting in the 2020 Presidential election between White voters and each other group,
   with the White–Hispanic gap coming in largest.8
      This turnout gap may provide relevant evidence for the element of Senate Factor 5
   that concerns "the extent to which minority group members bear the effects of discrimi-
   nation in areas such as education, employment, and health, which hinder their ability to
   participate effectively in the political process."




       6 I note that the turnout estimates produced by this method should be regarded as least certain for Asian

   voters, who represent the least numerous and least concentrated of the three minority groups.
       7 See www.census.gov/data/tables/time-series/demo/voting-and-registration/p20-585.html
       8 I have used this source to corroborate the gap, but I do not expect the numbers to closely agree, for several

   reasons. One is that the racial categories are constructed somewhat differently; the main reason is that the
   Current Population Survey, the data product from which this information is drawn, is based on self-reporting.
   It is well known in social science that survey methodologies tend to overestimate all groups’ rates of voting.
   (See, for instance, Bernard Fraga’s book The Turnout Gap).


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   7     Racial gerrymandering
   Next, we shift away from the Section 2 context to examine constitutional claims of ex-
   cessively race-conscious line-drawing in the clusters cited above, as well as a number of
   additional House districts.
      I will use qualitative as well as quantitative assessments to illustrate the apparent
   predominance of racial considerations over traditional criteria. Several kinds of illustra-
   tive figures will accompany these discussions, including dot density diagrams (such as
   Figure 15), shaded diagrams called choropleths (such as Figure 16), and outlines com-
   paring the enacted districts to corresponding districts from the benchmark plan (such as
   Figure 20).
      In addition, I have employed state-of-the-art computational techniques to build ran-
   domized districting plans, amounting to 100,000 alternative plans in each district cluster.
   These ensembles of alternative plans are drawn with no use of race data whatsoever.
   The district generation algorithm enforces contiguity, places a high weight on compact-
   ness, and prioritizes the intactness of counties and county subdivisions. For more infor-
   mation on ensemble generation, see Appendix B. In this part of the current report, the
   role played by these ensembles is to illustrate, through the racial/demographic break-
   down of the districts, that coalition population has been artificially elevated in certain
   districts and depressed in other districts, often in a characteristic packing and cracking
   pattern. The effect is often to pull the coalition CVAP share outside of the 40-60% range
   where the minority groups are likely to have strong influence or effective control of the
   district, without contributing to dilution overall. (See Figure 17 for an example.) The
   boxplots use a different column to record the range of demographic results observed
   in each district; in each generated plan, we order the districts from the lowest to the
   highest coalition CVAP share. The box shows the 25th–75th percentile range for CVAP,
   and the whiskers extend from the 1st to the 99th percentile. I have plotted the CVAP
   values for the enacted plan as blue dots in each boxplot; when the dot falls far outside
   the whiskers, this typically means that never in 100,000 random tries did the algorithm
   encounter a plan with this extreme of a demographic feature.


   7.1    Congressional districts in Tarrant/Dallas (C1)
   We begin with Cluster C1, which contains districts CD 6, 12, 24, 25, 30, 32, and 33 from
   the Tarrant/Dallas area. Of these, I will focus on CD 6 and CD 24, which are cited in the
   Texas NAACP complaint for potential racial gerrymandering.

   CD 6 stretches through seven low-density counties (Cherokee, Anderson, part of Free-
   stone, Navarro, Hill, Ellis, and part of Johnson) to extend a long finger northward through
   Tarrant and into Dallas County, winding through the cities of Mansfield, Arlington, Grand
   Prairie, Irving, and Dallas. (See Figure 2 for the full extent of the sprawl.) The district
   splits precincts to cut such a narrow band through Tarrant and Dallas. This design cracks
   a region with a significant share of POC voters in southeast Tarrant and northwest Dallas
   County across multiple districts.
      CD 6 previously touched only Navarro, Ellis, and Tarrant Counties. The portion previ-
   ously in Tarrant County was significantly more compact, covering much of the southeast-
   ern quadrant of the county. While the overall share of coalition VAP remained similar, the
   BVAP share was dropped from 20.7% to 13.5% as the shape was narrowed in a pattern
   that conspicuously excluded precincts with high Black population.




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   CD 24 is formed by a bulb in northeast Tarrant and a snaking path into Dallas. While
   the portion in Tarrant County remains relatively compact, the district meanders through
   Dallas County, splitting the cities of Irving, Farmers Branch, and Carrollton. Both Irving
   and Farmer’s Branch have been the subject of previous Section 2 litigation. The design
   connects predominantly White communities in Tarrant to other White-majority areas in
   northern Dallas County. This weaving path unnecessarily fractures cities and breaks
   precincts, avoiding coalition population so that the neighboring districts become packed.
      The skinny extension cuts through and divides an area with a large Asian population
   in northwest Dallas County. The district previously covered more geographic area in
   Tarrant County and maintained a more compact shape in Dallas County that preserved
   more cities. The benchmark plan’s CD 24 had seen major growth in its coalition popula-
   tion, so that White residents had dropped below half of the voting age population. The
   new design aggressively reduced the coalition presence—Black-Latino-Asian CVAP was
   decreased from 40.8% to 25.5%, a difference of 15.3 percentage points. The shift from
   old to new is much starker on racial than on partisan grounds; the Biden share of the
   district drops by only 9.1 percentage points.




   Figure 15: Congressional districts wind through minority communities throughout Tarrant
   and Dallas Counties. This plot illustrates that the poor compactness in the enacted plan
   is driven by intensely race-conscious boundary lines.




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   Figure 16: The careful exclusion of coalition population from CD 24 and the cracking of
   coalition communities by the skinny neck in CD 6 are easily visible in this choropleth.




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   Figure 17: This boxplot shows that, relative to 100,000 randomly generated alternative
   plans, the state’s map does not resemble race-blind alternatives. The enacted plan has
   a pattern of coalition CVAP that shows clear elevation in certain districts and depression
   in others, well beyond what the human geography would tend to produce. The districts
   in the 30-40% CVAP range (CD 12 and CD 6 in the state’s plan) are lower than all but
   about 1% of the corresponding districts in the ensembles.




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   7.2    Congressional districts in Harris/Fort Bend (C2)
   Cluster C2 includes eight districts (CD 2, 7, 9, 14, 18, 22, 29, and 38). Of these, there
   are racial gerrymandering complaints in CD 2, CD 22, and CD 38.

   CD 2 has a boundary along CD 29 that appears to be excessively race-conscious, re-
   sulting in packing in CD 29.
      Before redistricting, the coalition share of population in CD 2 had risen to 45.5%,
   enough for the district to verge on effective opportunity for coalition voters to elect can-
   didates of choice. The state’s new lines pare that population back to 35.1%, maintaining
   control for White voters’ preferences.

   CD 22 starts in coastal Matagorda County before stretching inland into Wharton and
   grabbing portions of Fort Bend, Harris, and Brazoria Counties. In Fort Bend, the district
   splits into three non-compact spurs, interlocking jaggedly with adjacent districts 7 and
   9. Together, the counties of Wharton, Matagorda, and Fort Bend are larger than one
   congressional district, so further splitting Brazoria and Harris Counties is not required to
   achieve population balance for CD 22.
       The district unnecessarily splits Sugar Land, a diverse, plurality-Asian city with a total
   population of 111,026 (41% Asian, 38% White, 12% Latino, and 8% Black). The boundary
   with CD 7 divides this community, breaking precincts in the process. Other diverse cities
   like Manvel and Pearland were also needlessly split. The boundary with CD 9 appears to
   be surgically drawn with respect to Black voters, leaving many of the precincts with the
   largest share of Black voters from Fort Bend and Brazoria Counties to be added to CD 9
   (whose overall coalition share of CVAP is over 85%). Meanwhile, CD 9 lost a signficant
   portion of its population base, which was placed in CD 18. And CD 18 lost its fifth ward
   and a nubmer of other communities of interest that were a core part of the district.
       Previously, CD 22 was only located in Fort Bend, Brazoria, and a different portion
   of Harris County and the cities of Sugar Land, Manvel, and Pearland were intact. In the
   transition to the new lines, the overall share of coalition CVAP was dropped from 54.7% to
   46.09%, with the clear implication of denying minority opportunity to elect. The minority
   areas removed from district 22 are split over five districts (7, 9, 14, 29, and 36), every
   one of which is either packed at over 60% coalition share or cracked at under 40% share.

   CD 38 is new this year, as the Congressional apportionment for Texas was enlarged
   from 36 to 38 seats. The new district has a long, distorted hourglass shape that ap-
   pears to cut a narrow neck through more heavily minority areas in order to unite Whiter
   communities in its northern and southern lobes—from Harris County and a White area
   of west Houston. This contributes to packing in neighboring districts 8 to the west and
   18 to the east of the "neck." Along the boundary to the south, CD 38 is drawn to selec-
   tively exclude precincts that have a relatively higher share of POC voters, contributing
   to packing in neighboring CD 7.




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   Figure 18: The Congressional cluster in Harris-Fort Bend. The concentrated Asian pop-
   ulation in the Sugar Land area of Fort Bend County is split across four congressional
   districts.




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   Figure 19: This boxplot shows that, relative to 100,000 randomly generated alternative
   plans, two districts have markedly elevated coalition CVAP, while two others are clearly
   depressed, likely costing coalition control of both districts. It is important to remember
   that the districts are interconnected; race-conscious decisions may include both packing
   and cracking in the same district, balancing out but contributing to the properties of the
   neighboring districts. Plots like this are intended to capture net effects.




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   7.3   Senate districts in Tarrant/Dallas (S1)
   The S1 cluster includes seven districts (SD 9, 10, 12, 16, 22, 23, and 30). Of these, I will
   discuss SD 9, 10, and and 22 individually. I will also include a discussion of adjacent SD
   2, even though it is not part of the Gingles 1 replacement map above.

   SD 2 SD 2 is geographically comprised of a number of rural counties, as well as part of
   Dallas County and a small part of Collin County, touching seven counties overall. Latino
   voters are split along the border of SD 2 and SD 16. Despite the clear emphasis on
   county integrity in traditional redistricting in Texas, SD 2 traverses county lines so much
   that it has three geographically separate components in Dallas County.

   SD 9 is completely contained within Tarrant County, but the city of Fort Worth is split
   between SD 9 and SD 10.
      The adjustment of district 9 from its pre-redistricting balance shows a much more
   pronounced racial than partisan differential: coalition CVAP was pared back from 44.4%
   to 35%, which put it likely out of reach for the minority candidate of choice. At the same
   time the Biden share fell by only 5.8 percentage points.

   SD 10 now starts in Tarrant County and extends westward before taking a sharp south-
   ward turn at Shackelford County. This district, formerly contained entirely in Tarrant,
   now encompasses seven additional lower-density counties, which collectively serve to
   dilute the coalition presence considerably. From a pre-redistricting share of 47.1%, the
   coalition CVAP has been pared back to 38.1%. Fort Worth is sliced through important
   neighborhoods to accomplish this.


                    Enacted SD 10




   Figure 20: Gray shows the terrain covered by the benchmark district from the previous
   redistricting cycle, and green shows the newly enacted SD 10.




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   SD 22 dilutes a narrow chimney of urban population in Tarrant by combining it with
   nine entire low-density counties and part of Ellis County. A more intuitive and compact
   division of the terrain in the area might have kept this "chimney" with SD 10, while SD
   22 would encompass Johnson County to the south. This would also provide significantly
   more opportunity for coalition voters, making the state’s decision appear conspicuous.
   The City of Arlington, with population 394,266 and no single racial group above 35%
   of population, could easily be kept whole in a Senate district, but instead touches four
   districts, divided through the middle by district 22’s northern limb. The boundary with
   district 10 neatly cleaves POC-majority precincts (kept in SD 22) from those with a White
   majority (pushed into SD 10).




                   Enacted SD 22




   Figure 21: Gray shows the terrain covered by the benchmark district from the previous
   redistricting cycle, and green shows the newly enacted SD 22.




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                     Benchmark                             Enacted (S2168)




   Figure 22: This pair of choropleths shows the POC population in Tarrant County in partic-
   ular, with two visible concentrations that were previously together in SD 10—the North-
   east/Northside neighborhoods of Fort Worth on one hand and Southeast/Sycamore neigh-
   borhoods on the other—now split between SD 9 and SD 10. In the southeastern corner,
   minority communities in Arlington and Mansfield are now cracked by a narrow corridor
   of SD 22.




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   Figure 23: Relative to 100,000 randomly generated alternative plans that take the hu-
   man and physical geography into account, two districts have conspicuously lower coali-
   tion CVAP. This likely costs electoral influence for minority groups, and is not explained
   by the neutral criteria. The ledge below 40% coalition CVAP is suggestive of dilutive
   intent.




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   7.4   Senate districts around Fort Bend (S2)
   The S2 cluster includes five districts (SD 6, 13, 15, 17, and 18). The complaint makes
   racial gerrymandering claims in three of these: SD 15, 17, and 18.




   Figure 24: The lines are exceedingly race-conscious, appearing as race-sorted pie slices
   in the dot density map shown here. The effect is highly dilutive.



   SD 15 is a non-compact, arching district that includes a portion of the city of Houston
   proper and wraps around exurban Houston. This and its interlocking neighbor SD 6 are
   the two least compact districts in the entire Senate map, by the Polsby-Popper metric,
   with strikingly low scores of about 0.07. They carefully split population so that Hispanic
   voters are kept in SD 6, which is packed at 82% coalition CVAP.

   SD 17 starts with low-density coastal counties but extends an antler shape into Fort
   Bend, Harris, and Waller Counties. The "antlers" split the city of Sugar Land and crack
   other areas with significant POC share. Before re-drawing, this district sat at 48.4%
   coalition CVAP, but the new design reduces that number to 43%.


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   SD 18 combines minority population with extremely polarized White bloc voters, cre-
   ating a district safely out of reach for its coalition voters. From numbers alone, this
   district’s 49.55% coalition CVAP share looks like it might be at or near an opportunity
   zone for minority voters, but by dodging around Brazos County (home to College Station
   and Texas A&M University), the district conspicuously avoids the White population that
   is most likely to cross over to support POC-preferred candidates.




   Figure 25: Relative to 100,000 randomly generated alternative plans, the state’s map
   once again displays a characteristic pattern of unusual demographics. The elevated
   share of coalition CVAP in one district is compensated by a notably depressed share in
   another, likely costing minority opportunity to elect in SD 18.




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   7.5   House districts in Tarrant (H1)
   H1 is a large cluster of House districts containing HD 90-99 and 101. Of these, I will look
   at racial gerrymandering indicators in HD 93, 94, 96, and 97.
      The diverse City of Arlington (pop. 394,266) was already discussed above, in Senate
   cluster S1. It is cracked in the House map as well, with parts included in each of five
   districts in the state’s map.




   Figure 26: Packing and cracking is clearly visible in the House plan within Tarrant County.




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   HD 94 dodges concentrations of minority population in every direction. It is built from
   part of Fort Worth, part of Arlington, and a number of small, heavily White suburbs
   and enclaves (like Dalworthington Gardens, Pantego, Hurst, and Bedford). This design
   sacrifices the predecessor district’s compactness, and ensures a coalition CVAP share of
   under 32%, making the district far Whiter than the county as a whole.

   HD 96 also contains pieces of both Arlington and Fort Worth, A forking tail to the west
   picks up two precincts in Fort Worth that are heavily Black. The net change in CVAP
   with the new lines amounts to 8.3% coalition CVAP, and 5.6% Biden share—a heavier
   demographic than partisan differential. This brings the district down from 44.4% to
   36.1% coalition CVAP. The terrain removed from the district is divided up among districts
   90, 95, 97, 101—all ending up with coalition CVAP shares below 30% or over 65%.

   HD 97 had both its coalition share and its Biden support share drop by about 5 per-
   centage points in the redistricting process. Pockets of concentrated minority population
   were carved out, such as a rectangle of three precincts with a Black and Latino majority
   in the Western Hills neighborhood of Fort Worth that was present in the benchmark HD
   97 but stripped out of the re-drawn district. This suggests at a minimum that race was
   used as a heavy proxy in the targeting of this district.




   Figure 27: Relative to 100,000 randomly generated alternative plans, the state’s map
   shows the same distinctive pattern of demographic manipulation found in other clusters.
   Two districts have have a pronounced elevation in their coalition CVAP; on the other
   hand, the CVAP is conspicuously low in two others, pushing them below the range of
   likely opportunity or influence.



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   7.6   House districts in Dallas (H2)
   The H2 cluster contains HD 100, 102-105, and 108-115. The complaint alleges racial
   gerrymandering in two of these districts: HD 108 and HD 112, both carefully arranged
   to include Whiter precincts and exclude those with more coalition population share.

   HD 108 is highly non-compact; between them, districts 108 and 114 neatly cover the
   majority-White precincts in North Dallas. Along all of the other shared boundaries of
   HD 108, the WCVAP differential across the district boundary is roughly 20 percentage
   points—a manifestly race-conscious line.

   HD 112 hugs the northeast outer boundary of Dallas County, including the most heav-
   ily White precincts to secure its overall 33.3% coalition CVAP share—an extremely steep
   dropoff from the benchmark district, whose coalition population had grown to 51.8% of
   CVAP. This drop of 18.5 percentage points is not close to matched by the partisan shift,
   where the Biden support share drops by under 5 points.
       In the process, the significant Asian population of Garland, Sachse, and Rowlett is
   cracked—split across districts 112, 102, and 113.




   Figure 28: House districts 108 and 112 are carefully arranged to retain White majorities.




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   Figure 29: Against these 100,000 randomly generated alternative plans, we see a fa-
   miliar pattern in the enacted plan. In particular, one district (HD 108) has a far lower
   coalition share than is ever observed in the ensemble.


   7.7   House districts in Denton/Wise (H3)
   The Denton/Wise cluster contains five House districts (HD 57, 63, 64, 65, and 106).
   These work together to break up the concentrated coalition population in the southeast-
   ern corner of Denton County.

   HD 57 is an elongated barbell-shaped district with a narrow neck avoiding the City of
   Denton.

   HD 63 is one of three House districts—63, 65, and 106—dividing up Lewisville, a
   majority-minority city of population 111,822 in southern Denton County. The state’s
   arrangement keeps all three districts under 35% coalition CVAP, while the city itself has
   over 62.5% coalition share.

   HD 65 is now a very narrow district that spans Denton County from East to West,
   diluting communities of color in the southeastern part of the county, where it is part of
   the three-way cracking of Lewisville/Carrollton.
      It is quite clear that this was an express design decision. The benchmark plan had its
   district 65 compactly located in the southeastern corner of the county, with the Black-
   Hispanic-Asian coalition forming over 45% of CVAP. In 2018, the district elected progres-
   sive Democrat Michelle Beckley to the state House with the strong support of people
   of color, and in 2020 she was narrowly re-elected. The new arching design drops that
   coalition CVAP number by over ten percentage points.




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   Figure 30: The multi-racial concentrations of population in Lewisville/Carrollton, seen in
   the southeastern portion of Denton County, are split across three districts in the state’s
   House plan. The more compact benchmark HD 65 had a near-majority of coalition CVAP
   before being replaced by the new, arching design.




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   Figure 31: In every single one of 100,000 alternative plans drawn pursuant to the rules
   and priorities of Texas redistricting, minority coalition voters would be present in far
   greater numbers in at least one district.




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   7.8    Brazoria
   HD 25 and HD 29 together make up the whole of Brazoria County. The dividing line is
   drawn to keep them both majority-White by CVAP, whereas the benchmark plan had 29
   as a majority-coalition district. That dividing line unnecessarily splits precincts along its
   whole length, while cracking Hispanic and Black communities in the cities of Pearland,
   Manvel, Iowa Colony, Richwood, and Freeport. Despite the fact that most of Brazoria is
   unincorporated, the district line cleaves each of these cities.




   Figure 32: Though the line could have been drawn anywhere in Brazoria County, it splits
   right through concentrations of coalition population.




   Figure 33: Though the vast majority of plans in Brazoria county that follow traditional
   districting principles would include a majority-coalition district, the state has selected a
   plan that does not.




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   7.9   Other House districts
   Beyond the four House clusters, we will also consider signs of racial gerrymandering in
   districts HD 26, 54, 66, 67, 121, 126, and 132.

   HD 26 is in northern Fort Bend County, containing the cities of Pecan Grove and Rich-
   mond, together with shards of Houston’s municipal sprawl. On its southern end, this dis-
   trict splits the majority-Latino City of Rosenberg. HD 26 saw fairly drastic reconfiguration
   from the benchmark plan to the new enacted plan, staying about equally non-compact
   but shedding minority population to drop the coalition share of CVAP from 55.6% to
   45.8%.




            Figure 34: HD 26 cracks Latino areas of Rosenberg at its southern tip.



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   HD 54 is a donut shape that completely encloses HD 55, together making up all of Bell
   County. This highly unconventional donut-hole configuration is new in this redistricting;
   previously, district 54 covered the western part of Bell County and all of neighboring
   Lampasas County. The county is very nearly 50-50 White and POC CVAP, but the district
   line cuts the plurality-Black City of Killeen, splitting precincts only there and in no other
   part of the county. It is notable that the new design needlessly splits the largest city in
   the county—at population 153,095, Killeen could quite reasonably have been the anchor
   of its own House district (ideal population 194,303). The redraw also took a district
   which, in its benchmark configuration, had risen to have 53.4% coalition CVAP, and
   shaved that back to 50.6%.




   Figure 35: HD 54, before (gray) and after (green), with the city of Killeen outlined in red.




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   HD 66 and HD 67 in Collin County were entirely reconfigured from compact neighbors
   in the southwestern corner of the county (see Figure 37) to long, non-compact tranches
   that contribute to a clear pattern of cracking. That is because Collin County overall
   has roughly 1/3 coalition CVAP, and every one of the six House districts that touches
   the county (33, 61, 66, 67, 70, and 89) is designed to maintain a similar proportion to
   the county as a whole. Thus while there is more than enough Black, Latino, and Asian
   population to control one or more districts in the county, the new districts are drawn in
   a way that blocks opportunity to elect.
       The cracking can be acutely observed in the southwestern portion of the county,
   where adjoining cities of Plano, Frisco, and Allen collectively have Asian American/Pacific
   Islander residents making up over a quarter of the population—one of the highest con-
   centrations of Asian residents in the state. The state’s plan splits each of these three
   modestly-sized cities across at least three and up to five House districts, with none of
   those districts exceeding 13% ACVAP.




   Figure 36: Geographically extended districts 66 and 67 take slices of urban population
   and dilute the coalition share with Whiter rural population.




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             Figure 37: HD 66 and HD 67, before (gray) and after (green).




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   HD 121 in Bexar County has a non-compact shape along a jagged border shared with
   HD 123 within the City of San Antonio—for instance, HD 121 swivels to avoid a Latino
   community in the Northeast Park neighborhood, near the airport, leaving it to contribute
   to packed district 123 (63% Hispanic CVAP). To the south, the contours of HD 121 are
   clearly defined by tracing along the heavily White suburbs of Terrell Hills, Alamo Heights,
   and Olmos Park. The net effect of the racially-precise lines is a coalition CVAP share that
   is diminished from the benchmark, now coming in at 42.3% overall.




   Figure 38: Excessively race-conscious lines draw Latino residents out of HD 121 and into
   packed HD 123.




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   HD 126 is located at the northern end of Houston’s urban sprawl, within Harris County.
   In the process of drawing new districts, its coalition CVAP was dropped from 55.6% share
   to 44.9%, a much more pronounced shift than its partisan balance. The territory that
   was shed in the reconfiguration, itself with a 77% coalition CVAP share, was relocated
   into neighboring districts 139 and 148, both with roughly 70-80% coalition CVAP share.

   HD 132 sits within Harris County, including shards of Houston and coming to a point,
   new in this redistricting, within the small City of Waller. Its coalition CVAP follows the
   pattern we have seen throughout this section, having crept up to 53.6% share at redis-
   tricting time and now steeply dropped to 41%. The excluded territory, with significant
   concentrations of both Black and Latino Texans, was redistributed entirely to neighboring
   districts 135 and 149, both at roughly 70-80% coalition CVAP, once again.




   Figure 39: Districts 126 and 132 are drawn to neatly dodge pockets of coalition popula-
   tion.




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   7.10    Summary of ensemble evidence




   Figure 40: Across the eight clusters discussed above, a consistent pattern can be ob-
   served. The demographic composition of these clusters is interconnected, and the el-
   evated coalition CVAP in some districts is entwined with targeted decisions that cost
   opportunity elsewhere.




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   8    Conclusion
   This report contains a methodical treatment of Gingles 1 (§5), Gingles 2-3 (§6), and con-
   stitutional considerations of racial gerrymandering (§7) in a subset of the Texas electoral
   districts recently enacted by the state for Congress, state Senate, and state House.
       The alternative plans proposed for Gingles 1 purposes are intentionally modular, re-
   drawing precisely the same terrain covered by clusters of districts in the respective
   enacted plans. This allows for the alternatives to be considered in a mix-and-match
   fashion, with impacts that are regionally contained.
       Gingles 2-3 requires an assessment of racially polarized voting, which is conducted
   here using ecological inference techniques that compare cast vote patterns to Census
   demographics. I find clear evidence that Black, Latino, and Asian voters in the seven
   county clusters vote cohesively together in statewide general elections, reliably sup-
   porting the same candidates of choice. The balance of Texas voters consistently support
   other candidates, and that has served to block electoral opportunity for the coalition
   considered here in districts that are mostly White.
       Finally, I have found strong indicators that racial considerations predominated over
   traditional redistricting principles, to the detriment of electoral opportunity, in the con-
   struction of twenty-nine districts that are discussed and illustrated individually in my
   investigation of racial gerrymandering.




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   A    Constructions of racial and ethnic categories
   Total population (TOTPOP) and voting age population (VAP) data are sourced from the
   2020 Decennial Census redistricting release (the PL94-171) and are broken down by
   ethnicity and race according to 126 different categories (63 racial and 2 ethnic choices
   can be selected by respondents).
      With respect to the PL data (TOTPOP and VAP), I have constructed Black population
   as the sum of all categories that include a self-identification as Black (whether Hispanic
   or not). This is sometimes called Any-Part-Black or Black Alone or in Combination. I
   have constructed the Latino/Hispanic category with all categories that include a Hispanic
   ethnic identification, minus those that were already enumerated as Black. Finally, Asian
   (or more fully Asian American Pacific Islander, or AAPI) is built from all categories that
   include Asian and/or Native Hawaiian or Other Pacific Islander responses, minus those
   already enumerated as Black or Hispanic.
      Though the decision about where to place multi-racial respondents is somewhat ar-
   bitrary, this system ensures that the sum of Black+Hispanic+Asian includes everyone
   who selected at least one of Black, Hispanic, Asian, or Native Hawaiian or Other Pacific Is-
   lander, no matter the other selections, without double-counting. This sum will constitute
   the category identified as the coalition for the purposes of this report.
      Citizen voting age (CVAP) data comes from the 2016–2020 5-Year American Commu-
   nity Survey (ACS) special tabulation. The CVAP data included in the ACS is broken down
   into a smaller number of sub-categories. The ACS gives Hispanic and Non-Hispanic CVAP
   estimates, and then further splits Non-Hispanic CVAP into 10 racial sub-categories, rather
   than the 63 that are available in Decennial Census data. I have reconstructed the racial
   categories from above with ACS groupings as follows: Black CVAP is the sum of the es-
   timates for Non-Hispanic Black Alone CVAP, Non-Hispanic Black and White CVAP, and
   Non-Hispanic Black and American Indian or Alaska Native CVAP. Hispanic CVAP is taken
   directly from the corresponding ACS count. Asian CVAP is the sum of the estimates for
   Non-Hispanic Asian Alone CVAP, Non-Hispanic Asian and White CVAP, and Non-Hispanic
   Native Hawaiian or Other Pacific Islander Alone CVAP.




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   B    Generation of ensembles of districting plans
   Ensembles of alternative districting plans were made with the open-source Python pack-
   age GerryChain, which has been publicly available since 2018 [5].
       The basic step begins with a graph representing the geographical units of Texas,
   then fuses two districts chosen at random. We draw a random tree (graph with no
   cycles) that spans the double-district; next, the tree is cut at an edge that creates two
   complementary balanced pieces, which become the new districts replacing the ones that
   were fused. The district generation process enforces that every district has population
   within 1% of ideal district size; if the tree has no cut edge leaving sufficiently balanced
   pieces, then a new tree is drawn. Contiguity is required throughout, as a consequence
   of the fact that deleting an edge from a tree always leaves two connected components.
   Compactness is highly favored throughout this process, because compact districts have
   far more spanning trees [2].
       To choose the random tree, a method called minimum spanning trees is employed,
   using weights that encourage county and subdivision integrity. Within-county edges are
   given a random weight in [ 0, 1] while those between counties or county subdivisions
   receive a weight with a +1 "surcharge." This surcharge is additive, so an edge between
   different counties and between different divisions have a +2, effectively drawing from
   [ 2, 3].
       The random tree is chosen by drawing weights from these intervals and then finding
   the (typically unique) spanning tree of minimum weight. In addition, when that tree
   is cut to separate new districts, the algorithm first seeks for a between-county edge
   as the cut, if it is possible within balance constraints. This promotes the selection of
   spanning trees that restrict to counties and municipalities in a single connected piece,
   which will tend to keep counties and municipalities un-split in the districts. For Congress
   and Senate, districts were built from VTD (precinct) units as their basic building blocks.
   For state House, census blocks were employed as the base unit, and a surcharge exactly
   like the one described above was used to promote the inclusion of whole VTDs.
       Convergence diagnostics for this kind of process are performed by varying the start-
   ing point and the random number seed, as well as by comparing outputs after 10,000
   steps to those after 100,000; comparing outputs with and without filters like county and
   subdivision preservation; and comparing runs with population deviation thresholded at
   1% to alternative runs with 2% or 0.5% leeway. Together, these provided me with high
   confidence that 100,000 steps is enough in each particular districting setting (Congres-
   sional, Senate, and House districts in Texas) to produce stable and reliable statistics.
   The recombination procedure targets the spanning tree distribution on plans. For more
   information on recombination and convergence heuristics, see especially [2].




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      I reserve the right to continue to supplement my report in light of additional facts,
   testimony and/or materials that may come to light. Pursuant to 28 U.S.C. 1746, I declare
   under penalty of perjury of the laws of the United States that the foregoing is true and
   correct according to the best of my knowledge, information, and belief.



     Executed this 23rd day of May, 2022.




                                                                          Dr. Moon Duchin




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